           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 1 of 80


GARY MORRIS 

CANDICE MORRIS 

1805 N.E. 67 th Street 

Oklahoma City, OK 73111 

                                                                     FILED
(214) 628-1817                                                           NOV 0 4 2011
                                                                          ROBERT D. DENNIS, CLERK
 Plaintiffs, Pro Se                                              U.S. DIST. C0VRr~ESTERN DIST. OF OKlA.
                                                                     BY       ~~              DEPUTY

                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE WESTERN DISTRICT OF OKLAHOMA


GARY MORRIS and                              )

CANDICE MORRIS, 
                            )

                                             )

        Plaintiffs, 
                        )
                                             )
        v. 	                                 )         PLAINTIFFS COMPLAINT TO
                                             )         RECOVER DAMAGES· RICO CASE 

1) CENTURY 21 ALL PRO REALTY, an 
           )         STATEMENT INCLUDED
     unknown business entity;                )

2) FEDERAL NATIONAL MORTGAGE                 )
        Case No. CIV· _ _ _ _ __
     ASSOCIATION d/b/a FANNIE MAE;           )

3) OKLAHOMA REO CLOSING & TITLE 

     SERVICES, LLC;                        )

4) 	 MARY L. BERRY, individually and     "f)
     doing business as CENTURY 21 ALL (
     PRO REALTY;
5) GENNY ULREY, an individual;
                                            T
                                        .J ~ 	 'if
                                           )

                                                  l'   -11-1298 I ..'. &1                                 ,~~.,


6) KEENAN KIRBY, an individual;            )

7) JENNIFER L. WIEWEL, an individual       )

8) RONALD W. MURRAY, an individual;        )

9) LARETTA M. MURRAY, an individual;       )

10) DOES 1-10                              )

                                             )
        Defendants.
                                             )

 PLAINTIFFS COMPLAINT to RECOVER DAMAGES· RICO CASE STATEMENT INCLUDED

Come now Pro Se Plaintiff(s) GARY MORRIS and CANDICE MORRIS, to file their

COMPLAINT with incorporated Racketeer Influenced and Corrupt Organizations Act

(RICO) Case Statement. This COMPLAINT and RICO Case Statement include the facts

the plaintiffs are relying upon to initiate their cause of action to recover damages.

                                  Jurisdiction and Venue:
                   PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                           Morris v. Century 21 All Pro Realty, et al 

                                         Page 1 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 2 of 80


      This court has jurisdiction over this matter pursuant to 28 U.S.C. 1331. Federal

Court jurisdiction is required here due to the federal Racketeer Influenced and Corrupt

Organizations Act claim which centers around numerous violations of federal statues,

including mortgage fraud, wire fraud and mail fraud. Plaintiffs' damages are in excess of

$75,000.00.

                                         Overview:

       In the instant Complaint, Plaintiffs Gary Morris and Candice Morris allege that

individuals Mary Berry, Broker/Owner d/b/a Century 21 All Pro Realty; Keenan Kirby,

FANNIE MAE Assistant Vice President; Genny Ulrey of Oklahoma REO Closing & Title

Services, LLC.; Jennifer L. Wiewel, Realtor; Ronald W. Murray, Realtor; and Laretta M.

Murray, Realtor; using the power and authority of their legitimate business positions and

agent relationships in FANNIE MAE, Century 21 All Pro Realty, and Oklahoma REO Closing

& Title Services; are RICO persons who have established and are operating a RICO

enterprise by association-in-fact with the purpose of conducting mortgage fraud.

       This RICO enterprise knowingly procures funding and hides evidence of

insufficient collateral for FANNIE MAE mortgage loans with the intent to defraud the

United States Government, financial institutions, and the general public. The participants

in the subject RICO scheme, each of them, is alleged to have committed the unlawful acts

described in the instant Complaint in violation of: 18 U.S.C. 1001; 18 U.S.C.1010; 18 U.S.C.

1012; and 18 U.S.C. 1014.

       The RICO persons were motivated by expectations of financial and professional

gains. In furtherance of their interstate racketeering scheme, the RICO defendants utilized

mail services and wire services on numerous occasions and thereby violated 18 U.S.C.

1341 and 18 U.S.C. 1343. Additionally, said RICO defendants, as part of their conspiracy,

presented false documents and false sworn statements to government officials while


                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et a1 

                                      Page 2 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 3 of 80


engaged in activities to complete the objectives of the RICO enterprise. The described

unlawful activities violated 18 U.S.C. 1001 and 18 U.S.C. 1010.

       A $111,744.00 FANNIE MAE loan was represented to the U.S. government on a

HUD-1 Settlement Statement (File #152587) as a 97% loan-to-value mortgage on 3/22/10

reportedly without an appraisal. The Defendants knew and failed to disclose on 3/22/10

that the subject property sold at $115,200.00 and securing the $111,744.00 FANNIE MAE

mortgage had a government appraisal on 1/4/10. Defendants hid existence of that 1/4/10

FHA Appraisal (HK5330KC) because it showed property/collateral value to be only

$109,000.00, far under the $115,200.00 sales price that was used as the value basis for the

mortgage loan that Defendants funded by wire on 3/22/10.

       Defendants, each of them, knew or should have known that the appraised value of

$109,000.00 effectively made the $111,744.00 mortgage loan to be a high risk mortgage

loan in excess of 100% of the property value. The $350.00 cost of the FHA certified

government appraisal which documented the $109,000.00 value was intentionally omitted

from Line 804 on the HUD-1 Settlement Statement (File #152587). This incomplete HUD-1

statement was submitted to the U.S. government and hid the existence of the appraised

value. The $109,000.00 appraised value was attached to the subject property from 1/4/10

through 6/4/10 per FHA regulations. No further appraisals were done on the subject

property between the 1/4/10 FHA appraisal and the 3/22110 loan funding.

       The enterprise enlisted the services of Century 21 All Pro Realty licensed Realtors

to perform a series of schemes to willfully over-value real property that ultimately deprived

the Plaintiffs of honest services and injured them financially. As a direct consequence of

the well orchestrated schemes of the enterprise, within a 30 day period, the Plaintiffs were

contracted to pay approximately an additional $60,000.00 for the same two bedroom, "as­

is" foreclosure house built in 1935. This happened during the country's most publicized


                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                      Page 3 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 4 of 80


real estate recession in decades. This level of enterprise profit multiplied by even as few

as five FANNIE MAE buyers a month, in just this region of the State of Oklahoma would

produce damages in the amount of $300,000.00 monthly and $3,600,000.00 annually.

FANNIE MAE potentially closes 50-100 properties per month in Oklahoma and contracts

the servicing of any resulting mortgage loans to financial institutions throughout the

United States.

       The enterprise initially extorted $12,232.00 by way of additional purchase price and

closing cost from the Plaintiffs. Subsequently the enterprise extorted an additional

$47,880.00 in mortgage interest to be paid in monthly installments for a higher interest rate

FANNIE MAE mortgage loan for the next thirty years. Thirty days prior to entering the

second purchase contract for the same property, the Plaintiff(s) had previously negotiated

and fully executed a purchase contract with FANNIE MAE for a lower sales price

($107,000.00) and were approved for a more financially desirable FHA loan. This was all

before the Plaintiffs became aware they were victims of the mortgage fraud schemes of

the enterprise.

       Plaintiffs believe that court approved discovery will likely reveal this Oklahoma

region of the enterprise to be just a prototype for other FANNIE MAE employee / Real

Estate broker / Title company officer, association-in-fact RICO enterprises. This illegal

enterprise model is well suited for operation in the various states where FANNIE MAE-

owned properties are represented exclusively by a single real estate broker and

title/closing agency in an area. Real Estate brokers and Title officers will be motivated to

participate in the RICO activities by the promise of a long term exclusive FANNIE MAE-

owned property sales contracts for their area.

       The unique "no appraisal" option for purchase mortgage loans is a mortgage

lending exception held exclusively by FANNIE MAE. That lending exception presents an


                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                        Page 4 of 80 

             Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 5 of 80


enticing opportunity for otherwise legitimate business persons to conduct an unlawful

enterprise for mortgage fraud. This enterprise was caught in the act of the mortgage fraud

when they worked together to submit government documents that hid the undisputable

evidence of the deficient property value for the loan they funded by wire on 3/22/10.

          Plaintiffs are initially seeking relief for intentionally inflicted RICO enterprise triple

damages amounting to almost $225,000.00; punitive damages for intentional contract

related fraud, emotional distress; and an ORDER for the Defendants to immediately cease

and desist the activities of the RICO enterprise. Trial by JURY DEMANDED.




                              FACTS COMMON TO ALL COUNTS


   1. 	      Plaintiffs Gary Morris and Candice Morris (hereinafter referred to as "Gary and

             Candice") were long time residents of Dallas, Texas. Gary in December 2009, whose

             Texas employer had ceased its operations eighteen months prior, obtained gainful

             employment that required he relocate and reside in Oklahoma City, Oklahoma.

   2. 	      Defendant Mary L. Berry is a licensed real estate broker in the State of Oklahoma. At

             all relevant times Defendant Berry owns and operates a real estate firm known as

             Century 21 All Pro Realty in Oklahoma City, Oklahoma. Other individual Defendants:

             Laretta Murray, Ronald Murray and Jennifer L. Wiewel are licensed real estate agents /

             Realtors, whose principal place of business is Oklahoma City, Oklahoma. They are

             each employees, agents, assigns, and affiliates of Defendant Berry.

   3. 	      Defendant FANNIE MAE is a corporation licensed to engage in the business of real

             estate mortgage loans and in the due course of their business retains services of agent

             brokers and designated title companies to sell real property obtained when mortgage


                    PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                            Morris v. Century 21 All Pro Realty, et al 

                                          Page 5 of 80 

       Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 6 of 80



       loans on said properties have been foreclosed upon. Fannie Mae owned the subject

       real property as a result of a foreclosed security on the property. Defendants Berry,

       Laretta Murray, Ronald Murray, and Jennifer Wiewel are each engaged in the sales of

       Defendant Fannie Mae owned homes and Genny Ulrey ofland Oklahoma REO Closing

       & Title Services, LLC., ALL work as the agents, affiliates and assignees of Defendant

       FANNIE MAE. Does 1-10 are the fictitious names of entities who are the agents,

       affiliates, employees, and otherwise work in concert with the other Defendants in their

       business of selling and closing residential and other real property.

4. 	   Defendant OKLAHOMA REO CLOSING & TITLE SERVICES, LLC, is licensed to

       engage in closing and title services in the State of Oklahoma. Oklahoma REO

       CLOSING & TITLE SERVICES, LLC was the closing and title company designated

       by FANNIE MAE for the canceled and the completed purchase transaction for the

       same subject property between the Plaintiffs and FANNIE MAE. At all relevant times

       the title company known as Oklahoma REO Closing and Title Services, LLC. operates

       in Tulsa, Oklahoma, with a branch office in Oklahoma City, Oklahoma. Defendant

       Oklahoma REO Closing and Title Services is responsible for the actions of its

       employees, agents, assigns, and affiliates.

5. 	   Defendant Keenan Kirby is an individual who resides and works in Dallas, Texas.

       Defendant Kirby is employed as Assistant Vice President of FANNIE MAE, a

       corporation licensed to engage in the business of real estate mortgage loans. In the due

       course of FANNIE MAE business, Kirby works with contracted agent brokers and title

       companies to sell and transfer real property obtained when mortgage loans on said

       properties have been foreclosed upon.


             PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                     Morris v. Century 21 All Pro Realty, et al 

                                   Page 6 of 80 

       Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 7 of 80


6.     Defendant Genny Ulrey is a licensed title officer in the State of Oklahoma and

       designated signor for FANNIE MAE. At all relevant times Defendant Ulrey operates a

       title company known as Oklahoma REO Closing and Title Services, LLC. in Tulsa,

       Oklahoma, with a branch office in Oklahoma City, Oklahoma. Defendant Ulrey and

       Oklahoma REO Closing and Title Services, LLC employ other individual title officers,

       whose principal place of business is Oklahoma City, Oklahoma and they are each

       employees, agents, assigns, and affiliates of Defendant Ulrey and Oklahoma REO

       Closing and Title Services, LLC.

7. 	   On or about December 12, 2009, Gary and Candice Morris drove from Dallas, Texas to

       Oklahoma City, Oklahoma, to inspect the neighborhood of two houses they found on

       an internet real estate site. Gary and Candice were very interested in the home located

       at 1805 NE 67th Street, Oklahoma City, Oklahoma, hereinafter referred to as the subject

       property and/or subject home. Gary and Candice called the telephone number posted

       on a sign at the subject home and were introduced by telephone to Defendant Ronald

       Murray who agreed to show the property to Gary and Candice.

8. 	   On or about December 15, 2009 at 1:07 PM, Candice emailed Defendants Murray

       informing them that she and Gary were interested in purchasing the property located at

       1805 NE 67th Street; Oklahoma City, OK 73111 (subject home). Defendants Murray,

       following up on representations made during their showing of the subject home,

       offered to represent Gary and Candice in the purchase of the subject home.

       Reasonably relying on the offer to enter into an agreement for real estate agency

       services, Candice provided Defendants Murray, their Realtors, detailed confidential

       financial information to secure a loan for the property.


             PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                     Morris v. Century 21 All Pro Realty, et al 

                                   Page 7 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 8 of 80


9.      On or about December 15, 2009, Defendant Laretta Murray referred Plaintiffs to

        Lender, Shelby Weston of Red Rock Mortgage & Lending. Financial information was

        given to Lender Weston by Plaintiff Gary Morris during telephone conversation.

        Lender Weston prepared a mortgage loan Pre-Approval letter he emailed to Plaintiffs

        and Laretta Murray for an FHA loan with 3.5% down payment and $115,000.00

        maximum purchase price.

10. 	   On or about the evening of December 15, 2009, Defendant Laretta Murray offered and

        made arrangements for Defendants Murray to provide transportation for Gary and

        Candice from the Will Rogers Airport in Oklahoma City to Century 21 All Pro Realty

        Office to write offer to purchase the subject home.

11. 	   From the date Defendants Murray met and solicited business from Gary and Candice to

        the date Gary and Candice accepted their offer to enter into a purchase agreement to

        purchase the subject home with representation by Defendants, there were many

        conversations between Defendants Murray and Gary and Candice. At no time during

        these conversations and exchange of emails did Defendants disclose their contractual

        relationship with Defendant FANNIE MAE and their obligation to obtain the highest

        sales price for the properties listed on behalf of FANNIE MAE. There were countless

        occasions from December 12, 2009 through December 16, 2009, for Defendants

        Murray to disclose to Plaintiffs Morris that the Defendants Murray had a contractual

        obligation for sole representation of Seller, FANNIE MAE, in any transaction for the

        property located at 1805 NE 67th Street; Oklahoma City, OK 73111.

12. 	   At no time prior to inducing Gary and Candice to enter into a contractual agreement

        for professional, licensed real estate agency by Defendants and each of them, did any


              PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                      Morris v. Century 21 All Pro Realty, et al 

                                    Page 8 of80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 9 of 80


        of the Defendants give Gary and Candice any written/printed disclosure that Century

        21 All Pro Realty, Real Estate Associates and employees could only represent the

        Seller, FANNIE MAE with respect to the subject property.

13. 	   There were countless occasions prior to when the Transaction Broker form was

        executed by Plaintiff Gary Morris on the afternoon of 12116/09 that Defendants had

        opportunity to communicate that they represented sellers in the subject transaction.

14. 	   The missed opportunity by Defendants to disclose actual representation prior to

        inducing Plaintiffs to enter into that Transaction Broker contract include: several

        telephone conversations, numerous emails, an additional day trip from Texas to

        Oklahoma for a second showing of said property prior to writing the offer to purchase

        and the car ride from the Oklahoma Will Rogers Airport to the Century 21 All Pro

        Realty Office in Oklahoma City.

15. 	   At no time did Defendants Laretta Murray or Ronald Murray inform Gary and Candice

        that they were loyal and committed to obtain the best purchase arrangements on behalf

        of Seller, Defendant FANNIE MAE and therefore offered no independent

        representation to buyers with respect to the subject property.

16. 	   At no time did Defendants Murray verbally inform Gary and Candice that Century 21

        All Pro Realty, its associates and employees could only represent the Seller on said

        property that they had a prior existent relationship with seller of subject property to

        represent seller's best interest with respect to any sale of the subject property.

17. 	   At no time did Defendants Murray inform Gary and Candice that on a purchase valued

        over $100,000.00 that Gary and Candice would not have representation on their behalf

        for the transaction.


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                     Page 9 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 10 of 80


18.     Defendants Murray were to be paid a sales commission if they obtained the Buyers for

        a purchase contract on the subject property at close of contract.

19. 	   On or about December 16,2009, Defendant Laretta Murray made a fraudulent and

        misleading statement to Gary and Candice when they questioned the meaning of the

        Transaction Broker form prior to agreeing to sign said form.

20. 	   On or about December 16,2009, Defendant Ronald Murray was present in the Century

        21 All Pro conference room when Defendant Laretta Murray gave the fraudulent and

        misleading interpretation of the Transaction Broker disclosure form to Gary and

        Candice.

21. 	   Defendant Ronald Murray, agent of record for the subject contract, offered no

        explanation of the form and made no attempt to correct the fraudulent and misleading

        statement made by Defendant Laretta Murray to Gary and Candice.

22. 	   Defendant Ronald Murray knew Defendant Laretta Murray's explanation of the

        Transaction Broker disclosure saying, "There is a competent group of professionals on

        the other side of the office (C21 All Pro Realty) that take care of the Seller (FANNIE

        MAE) and we (Defendants Murray) take care of you (Plaintiffs Morris) was grossly

        misleading and inaccurate.

23. 	   On or about December 17, 2009 at 1: 15 PM, Defendant Laretta Murray transmitted via

        electronic mail to Plaintiffs Morris a property list with a directive "not to talk to any

        other realtors, just call Laretta or Ron." Plaintiffs Morris further understood this

        directive to confirm Defendants Laretta and Ron were their Realtors.

24. 	   On or about December 22,2009, after several out of the ordinary situations and

        discoveries, Plaintiff Candice Morris had a telephone conversation with Broker Mary


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 10 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 11 of 80



        Berry. Plaintiff Candice Morris made a request for Seller, FANNIE MAE, to pay

        Buyers closing cost. Also, during that conversation, Broker Berry informed Plaintiff

        Candice Morris that Century 21 All Pro and all its real estate agents and employees

        represented only FANNIE MAE. Plaintiff Candice Morris informed Broker Berry this

        was the first knowledge that Plaintiffs Morris did not have Realtor representation.

        Plaintiff Candice Morris further explained that they questioned the Transaction Broker

        form prior to Plaintiff Gary Morris signing the form and it was expressed that

        Defendants Murray represented Plaintiffs Morris.

25. 	   On or about December 22,2009, during telephone conversation, Broker Berry offered

        to return Plaintiffs Morris deposit and then stated she would not sell said property to

        Plaintiffs Morris again if they canceled and came back with Realtor representation.

26. 	   Final purchase contract was signed by Seller, FANNIE MAE, on December 23,2009.

27. 	   On or about January 14,2010, counter offer requesting Seller to pay Buyer closing

        costs was submitted to and rejected by Seller, FANNIE MAE almost three weeks after

        initial counter offer request on December 22,2009.

28. 	   On or about January 18,2010, Plaintiff Gary Morris canceled the purchase contract

        with $107,000 sales price referencing the emailed letter to Broker Berry dated 1110/09

        as reasons for termination.

29. 	   On or about February 2,2010, Plaintiff Gary Morris submitted a new offer to purchase

        said property located at 1805 NE 67 th Street; Oklahoma City, OK with a Realtor from

        an outside company. Several counter offers were exchanged between Plaintiff Gary

        Morris and Seller, FANNIE MAE during February 2,2010 through February 3,2010.




              PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                      Morris v. Century 21 All Pro Realty, et al 

                                   Page 11 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 12 of 80



30. 	   On or about February 4, 2010, Plaintiff Gary Morris submitted a counter offer to pay

        full January 4,2010 dated FHA appraised value of $109,000 and to include the 3.5%

        FANNIE MAE advertised INCENTIVE to Buyers of FANNIE MAE owned properties

        for closing cost and/or new Whirlpool appliances. The full FHA appraisal was attached

        to the counter offer.

31. 	   On or about February 5, 2010, Seller, FANNIE MAE sent counter offer to Plaintiffs

        Morris at $110,815 sales price. This $110,815 sales price was above the known FHA

        appraised value of $109,000 and above the previously contracted price of $107,000

        that Plaintiff Gary Morris cancelled on January 18,2010 for the same property. No

        other bids had been submitted for said property at this point.

32. 	   On or about the afternoon of February 5,2010, Plaintiffs Morris were informed another

        Buyer submitted an offer on said property. Both Plaintiff Gary Morris and the other

        Buyer were given about 48 hours to submit their best offer.

33. 	   On or about February 8,2010, Jennifer L. Wiewel, Broker Berry and FANNIE MAE

        awarded purchase contract to other Buyer who submitted the lower bid. The respective

        real estate agents notified their clients. Plaintiffs Morris suffered significant emotional

        distress with this news.

34. 	   On or about February 9,2010, Broker Berry informed the Plaintiffs Realtor Grewell

        that a mistake had been made and another bidding period was set. This additional bid

        was in lieu of correcting the initial error and awarding the purchase contract to Plaintiff

        Gary Morris, the first highest bidder.

35. 	   This second attempt to thwart the sale of the property to Plaintiffs Morris by re­

        opening the bid period forced Plaintiff Gary Morris to: a) increase the bid/sales price to


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 12 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 13 of 80


        $115,200.00, b) waive the Seller advertised concessions of 3.5% for closing cost and/or

        appliances, and c) change to an undesirable FANNIE MAE loan with a higher fixed 30

        year interest rate instead of using his pre-approved FHA loan with lower fixed interest.

        Plaintiff Gary Morris was forced to make all the above changes in efforts to secure the

        property.

36. 	   The detailed confidential financial information em ailed to Defendants Murray on

        December 15,2009, was used by Century 21 All Pro Realty and its employee, Jennifer

        L. Wiewel to fraudulently breach fiduciary duty to Plaintiffs Morris. This fraudulent

        breach of fiduciary resulted in: a) over $8,000.00 higher sales proceeds for FANNIE

        MAE, b) higher sales commissions for Broker Berry and Century 21 All Pro Realty, c)

        a new 30 year loan with a credit worthy customer, and d) projected $47,880.00

        additional interest proceeds from the home loan for FANNIE MAE.


37. 	   The FHA Appraisal (HK5330KC) valued at $109,000 for subject property was on file,

        attached and valid from January 2010 - June 2010 was delivered by fax to the Century

        21 All Pro Realty office with full documentation by Edmond, Oklahoma Realtor,

        Kristyn Grewell to Defendants: Century 21 Broker/Owner Mary L. Berry; Jennifer L.

        Wiewel; and Keenan Kirby, Assistant Vice President of FANNIE MAE; on or about

        February 4, 2010. Genny Ulrey and Oklahoma REO Closing & Title Services were in

        possession of this appraisal direct from Plaintiffs' lender Red Rock Mortgage &

        Lending in January 2010 as a result of Plaintiffs previous transaction for the same

        subject property.

38. 	   No further property appraisals were ordered or procured for the subject two bedroom

        property, built in 1935.

              PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                      Morris v. Century 21 All Pro Realty, et al 

                                   Page 13 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 14 of 80


39. 	   The following interstate financial institutions have procured, funded, and/or serviced

        this over 100% loan-to-value mortgage on the subject property on or after March 22,

        2010 through June 25,2010: Red Rock Mortgage & Lending, Flagstar Capital Markets,

        and the Federal National Mortgage Corporation (FANNIE MAE). At least two of

        these financial institutions are not and were not at the time, within federal lending

        regulations to authorize, procure and/or fund 100%+ loan-to-value initial purchase

        mortgages.




               FRAUDULENT INDUCEMENT TO ENTER CONTRACT

40. 	   Plaintiffs Morris incorporate by reference each and every allegation contained in

        paragraphs 1 through 39 as though fully set forth herein.

41. 	   Defendants Murray, acting in concert with the express plan, intention, and designs of the

        other Defendants: Berry, Wiewel, and Kirby, knowingly and willfully solicited an offer to

        purchase subject home that was listed for sale on behalf of FANNIE MAE by Defendants,

        without the knowledge and consent of Gary and Candice.

42. 	   Defendants Murray offered assistance and represented that they were the best realtors to

        assist Gary and Candice with an attempt to purchase the subject home and would in fact

        provide the best representation of their interests.

43. 	   Gary and Candice did in fact reasonably rely upon the express representations of

        Defendants Murray and Berry, in their capacity as licensed realtors with knowledge of the

        real estate market for foreclosed homes in the Oklahoma City area and thereupon

        accepted the offer of Defendants representation of Gary and Candice as their realtors to

        enter into the process of purchasing the subject home.


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 14 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 15 of 80



44.     As a proximate result of Gary and Candice's reasonable reliance on the representations

        and solicitations of Defendants and each of them, Gary and Candice suffered

        compensatory damages in an amount in excess of $75,000 and punitive damages in an

        amount in excess of $10,000, with the exact amount to be determined by a jury.



                   FRAUDULENT BREACH OF FIDUCIARY DUTY

45. 	   Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

        through 44 as though fully set forth herein.

46. 	   Defendants and each of them owed a fiduciary duty of loyalty to Gary and Candice to

        protect their financial interests and conduct themselves in the subject home purchase in a

        manner which at all times advanced the best interests of Gary and Candice from the time

        that Defendants offered their professional, licensed services and Gary and Candice

        accepted said services and representation of their financial interests.

47. 	   Defendants and each of them violated their fiduciary duties to Gary and Candice when

        they represented the adverse interests of the Seller in the same transaction, without prior

        full disclosure of their interests to Gary and Candice.

48. 	   Further, Defendants and each of them violated their fiduciary duties to Gary and Candice

        when they willfully, knowingly, and maliciously misrepresented material facts to Gary

        and Candice and wrongfully inflated the value of the subject home well over appraised

        market value and denied Gary and Candice financial incentives and finance rates given to

        similarly situated buyers who were not represented by the Seller's undisclosed agents.

49. 	   As a direct and proximate result of the misrepresentations and misconduct of Defendants

        and each of them, Gary and Candice suffered compensatory and punitive damages.


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 15 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 16 of 80




                                   FRAUD AND DECEIT 


50. 	   Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

        through 49 as though fully set forth herein.

51. 	   Defendants and each of them owed Gary and Candice a duty to deal with them truthfully

        and honestly when they solicited and contracted with Gary and Candice to represent them

        in the purchase of the subject home.

52. 	   Gary and Candice reasonably relied on the representations by Defendants and each of

        them, regarding all of the details of the purchase transaction of the subject home. Further,

        Gary and Candice reasonably relied on full disclosure of material facts which had bearing

        on the subject transaction by Defendants and each of them. Plaintiffs believe Broker

        Berry and her associates knew the exterior peeling paint on the subject property was

        suspected to be lead based paint. Ronald Murray told Plaintiffs during the first

        December 2009 property showing that there had been a recently canceled purchase

        contract on the property. Plaintiffs believe the excessive cost to correct the peeling

        exterior paint on the house trim and window panes to be a factor in that cancelation.

53. 	   Defendants and each of them made specific, intentional, reckless and malicious false

        representations which they knew or should have known would be relied upon by Gary and

        Candice in the subject transaction to purchase an Oklahoma City residence listed by

        Defendants.

54. 	   As a direct and proximate cause of reliance upon the intentional, malicious, reckless, and

        wonton material representations by Defendants and each of them, as well as the




               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 16 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 17 of 80



           intentional and/or reckless failure to disclose material facts known by Defendants and

           each ofthem, Gary and Candice suffered compensatory and punitive damages.

                                                    v.
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Mary Berry, individually and d/b/a Century 21 All Pro Realty; Keenan Kirby; Genny Ulrey; Jennifer
                           Wiewel; Ronald Murray; and Laretta Murray)

  55. 	    Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

           through 54 as though fully set forth herein.

  56. 	    Defendants and each of them engaged in wonton, intentional, malicious and recldess

           misconduct which they knew or should have known would cause personal financial injury

           and would inflict harm and injury to the physical and mental well being of Gary and

           Candice.

  57. 	    Gary and Candice have suffered extreme physical and emotional distress from the sudden

           additional financial loss of over $60,000.00 in less than 30 days on the purchase of a two

           bedroom, 75 year old foreclosure home sold in "as-is" condition. Gary and Candice had

           been under contract to purchase the same home with the same seller two weeks prior

           before canceling to acquire independent broker services. The Morris family required

           immediate affordable housing since Gary Morris had been working in Oklahoma for less

           than two months after being unexpectedly unemployed in Texas for the eighteen months

          just prior. Gary and Candice's distress was a proximate result ofthe deliberate

           misconduct and misrepresentations ofDefendants and each ofthem, in connection with

           the purchase ofthe subject home. Gary and Candice have suffered compensatory and

           punitive damages as a further proximate cause ofthe misconduct described herein by

           Defendants and each ofthem.



                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 17 of80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 18 of 80



          VIOLATION OF OKLAHOMA CONSUMER PROTECTION ACT 


58. 	   Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

        through 57 as though fully set forth herein.

59. 	   Defendants Murray and Century 21 All Pro Realty in the course of their real estate

        business committed unfair and deceptive trade practice by misrepresenting that they could

        represent Gary and Candice as their realtors in the purchase of the subject home.

60. 	   Defendant Ronald Murray in the course of his real estate business committed unfair and

        deceptive trade practice by omitting to inform Gary and Candice during the numerous

        opportunities between December 12,2009 and December 16,2009 that Defendants and

        Century 21 All Pro Realty could not represent Gary and Candice before they flew from

        Dallas, Texas to Oklahoma City, OK on December 16, 2009 to write an offer to purchase

        the subject home.

61. 	   Defendants Murray in the course of their real estate business committed unfair and

        deceptive trade practice by omitting to inform Gary and Candice during the numerous

        opportunities after December 16, 2009 through December 22, 2009, when Defendant

        Broker Berry informed Candice Morris during telephone conversation that all Century 21

        All Pro Realty agents and employees represented only the Seller (FANNIE MAE).

62. 	   Defendant Laretta Murray in the course of her real estate business committed unfair and

        deceptive trade practice by her explanation of the Transaction Broker form when Gary

        and Candice Morris questioned the meaning on December 16, 2009. Defendant Laretta

        Murray statement that, " There are qualified professionals on the other side of the office

        (Century 21 All Pro) that take care of the Seller (FANNIE MAE) and we (Ronald and

        Laretta Murray) take care of you (Gary and Candice)", was fraudulent and misleading.


               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 18 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 19 of 80



63. 	   Defendant Ronald Murray in the course of his real estate business committed unfair and

        deceptive trade practice by omitting to correct the false information provided by

        Defendant Laretta Murray concerning her explanation of the Transaction Broker form to

        Gary and Candice prior to Gary Morris signing the form on December 16,2009.

        Defendant Ronald Murray was present in the Century 21 All Pro Realty conference room

        and listening when Defendant Laretta Murray made the misleading statement to Gary and

        Candice.

64. 	   Gary and Candice did in fact reasonably rely upon the express representations of

        Defendants and each of them, in their capacity as licensed realtors with knowledge of the

        real estate market for foreclosed homes in the Oklahoma City area and thereupon

        accepted the offer of Defendants representation of Gary and Candice as their realtors to

        enter into the process of purchasing the subject home.

65. 	   This practice of misleading and omitting to inform Gary and Candice about Defendants

        contractual obligation to represent only the Seller (FANNIE MAE) was unconscionable.

        Defendants Murray knew an independent realtor could represent Gary and Candice's

        highest and best interest at no additional cost.

66. 	   Defendants Murray and Century 21 All Pro Realty stood to gain additional real estate

        commission at the close of contract by procuring the Buyers.

67. 	   Defendants Murray and Century 21 All Pro Realty knew Plaintiffs Gary and Candice

        Morris would be purchasing a home valued over $100,000.00 without any representation.

        This act was excessively one-sided in favor of Defendants Murray and Century 21 All Pro

        Realty.




               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 19 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 20 of 80


  68.     As a proximate result of Gary and Candice's reasonable reliance on the representations

          and solicitations of Defendants and each of them, Gary and Candice suffered

          compensatory damages in an amount in excess of $75,000 and punitive damages in an

          amount in excess of $10,000, with the exact amount to be determined by a jury.

                                                VII. 


                 VIOLATION OF 18 U.S.C. Section 1962(c), CONDUCTING 


                    THE AFFAIRS OF AN ENTERPRISE THROUGH 

                  PATTERN OF RACKETEERING ACTIVITY (RICO) 

(Mary Berry, individually and d/b/a Century 21 All Pro Realty; Keenan Kirby; Genny Ulrey;
                   Jennifer Wiewel; Ronald Murray; and Laretta Murray)

  69. 	   Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

          through 68 as though fully set forth herein.

  70. 	   Plaintiffs allege Defendants and each of them worked together to willfully overvalue the

          subject property and subsequently influence three financial institutions, the Federal

          National Mortgage Association (FANNIE MAE), Red Rock Mortgage & Lending, and

          Flagstar Capital Markets into funding a mortgage loan with a non-disclosed, over

          100% loan-to-value on 3/22110. These violations resulted in actual and/or projected

          personal and/or professional financial gain for the Defendants.

  71. 	   The subject property was initially under contract in January 2010 for $107,000 to the

          same Buyers, Plaintiffs Morris. The property was also appraised by FHA for $109,000 in

          January 2010. The subject property was then re-sold to the same Buyer for $115,200 in

          February 2010 with an initial mortgage funded for over 100% of the $109,000 value

          without any further appraisals.




                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 20 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 21 of 80



72.     Sworn declarations are on file by Defendant Broker/Owner Mary Berry; her employees

        and associate real estate agents that the two real estate transactions with the Plaintiffs

        were handled the same as all other Century 21 All Pro Realty transactions. Those

        declarations were investigated and accepted as factual by HUD Investigator Eduardo

        Garza, Jr. and the Oklahoma Fair Housing Department in 2010. All charges of alleged

        discrimination were dismissed. If those under oath, sworn to a U.S. Government

        official, admissions by Century 21 All Pro Realty; Broker/Owner; its real estate agents;

        and its employees are true; then Plaintiffs allege each of these Defendants, by their own

        admission, operate in this same alleged fraudulent manner routinely with the general

        public.

73. 	   The Co-Conspirator Defendants are each liable "person" within the meaning of 18 U.S.c.

        Section 1961(3) and 18 U.S.c. Section 1962(c) of RICO.

74. 	   The Co-Conspirator Defendants committed the predicate act of "racketeering activity" as

        that term is defined in 18 U.S.c. Section 1961(1). The Co-Conspirator Defendants

        committed the act of financial institution fraud in violation of 18 U.S.c. Section 1344 on

        3/22/10. The Defendants intentionally funded a FANNIE MAE mortgage loan on a

        willfully overvalued property. The non-disclosed 100% loan-to-value mortgage was then

        transferred to other financial institutions (Red Rock Mortgage & Lending, Flagstar Bank,

        and FANNIE MAE) while represented as a 97% loan-to-value mortgage during the period

        of 3/22/10 - 6/30/1 O.

75. 	   The predicate act of "racketeering activity" committed by the Co-Conspirator

        Defendants: Berry, Wiewel, R. Murray, and L. Murray; by their own sworn statements on

        file with HUD and Fair Housing that the transactions with the Plaintiffs Morris were


                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 21 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 22 of 80



        "routine" operations, constitute a "pattern of racketeering activity" within the meaning of

        18 U.S.c. Section 1961(5).

76. 	   Each Co-Conspirator Defendants directly or indirectly participated in the conduct of an

        "enterprise" as that term is defined in 18 U.S.c. Section 1961(4).

77. 	   The activities of the "enterprise" affected interstate commerce when information and

        decisions of financial institutions and the U.S. Government were impacted by the

        transferring and wire funding of the falsely represented mortgage loan.

78. 	   The Co-Conspirator Defendants conducted their enterprise through an ongoing open

        ended pattern of racketeering activity as indirectly admitted by some of the Defendants

        under oath in their statements made to HUD Investigator Garza (See paragraph 72 above).

79. 	   The above described racketeering activities amount to a common course of conduct in real

        estate sales and mortgage fraud intended to deceive and harm Plaintiffs. Each

        racketeering activity is related, has similar purposes, involves the same or similar

        participants and methods of commission, and has similar results affecting similar victims,

        Buyers of real property and financial institutions.

80. 	   Each Co-Conspirator Defendant conducts the affairs of the enterprise because they

        knowingly and willingly participated in the enterprise.

81. 	   Plaintiffs have been and continue to be injured by the Co-Conspirator Defendants'

        violations each month the additional mortgage interest from the fraudulent loan is paid by

        the Plaintiffs.

82. 	   Plaintiffs' injuries are directly and proximately caused by the Co-Conspirator Defendants'

        racketeering activity as described above.




               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 22 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 23 of 80



83. 	   By virtue of their violations of 18 U.S.c. Section 1962(c), the Co-Conspirator Defendants

        are jointly and severally liable to Plaintiffs for three times the damages Plaintiffs have

        sustained, punitive damages, and the cost of this suit, including reasonable attorney fees.

84. 	   Interstate commerce is affected when home loans and financial institutions are involved in

        fraudulent mortgage transactions with over-valued collateral.


                           RICO CASE STATEMENT - RESPONSES
        Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1

                          through 84 as though fully set forth herein.

    1. 	 The alleged unlawful conduct is in violation of 18 U.S.C.1962 (a) and (d) for

        Defendant Oklahoma REO Closing & Title Services. The alleged unlawful

        conduct is in violation of 18 U.S.C. 1962(a), (c), and (d) for Defendants Mary

        L. Berry d/b/a Century 21 All Pro Realty; Keenan Kirby; Genny Ulrey; Jennifer

        Wiewel; Laretta Murray; and Ronald Murray.

                Plaintiffs believe additional discovery and investigation will reveal

         Defendant(s) unlawful conduct also violates 18 U.S.C.1962 (b) and respectfully

         reserve the right to supplement this RICO Case Statement and amend

         Defendants upon the completion of discovery relating to 18 U.S.C.1962 (b).

                There is an issue of a transport business that opened on or about

         April 21,2011 in Dallas, Texas, that requires "reasonable inquiry". A United

         States Department of Transportation license # 2145514 was issued to a

         Keenan Kirby for this Texas transport business that started on 4/21/11. The

         trucking company advertises it transports "Paper Products." Dallas, Texas

         resident, Defendant Keenan Kirby, Assistant Vice President of FANNIE MAE's

               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et al 

                                    Page 23 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 24 of 80



          business includes real property, similar to the subject real property, which is

          located in the state of Oklahoma.


      2. 	 Plaintiffs allege misconduct and basis of liability of each defendant listed
           below as follows:

Mary L. Berry -Broker/Owner individually and d/b/a Century 21 All Pro Realty (RICO

person and RICO enterprise upper management): Broker Berry is also liable for acts of

broker's associates per Title 59 of Oklahoma Statues §858-363. Associates of real estate

broker-Authority.

      A. 	 Broker Berry knowingly omitted materially significant information to the United

          States on the HUD-1 Settlement Statement, File number 152587, Line 804 on

          March 22, 2010. The known material omission on Line 804 was the $350.00

          appraisal fee to Red Rock Mortgage. This omission subsequently deceived the

          United States government and other interstate financial institutions. Broker

          Berry with the enterprise was able to hide the mortgage originated with known

          insufficient collateral on the subject real property by omitting the appraisal

          information. Broker Berry received the full 1/4/1 0 FHA Appraisal - HK5330KC

          on 2/4/10. Plaintiffs' Realtor, K. Grewell, faxed the appraisal to Broker Berry at

          the Century 21 All Pro Realty office. The appraisal stated property value at

          $109,000.00. The $350.00 cost for the appraisal was paid by Plaintiff Gary

          Morris by personal check mailed from his residence in Dallas, Texas to Broker

          Berry's Century 21 All Pro Realty office in Oklahoma in December 2009.

          Plaintiffs allege Mary Berry, individually and d/b/a Century 21 All Pro Realty

          violated 18 U.S.C.1001; 18 U.S.C.1010; and 18 U.S.C.1344.

                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 24 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 25 of 80



B. 	 The $109,000.00 appraisal value provides 'full disclosure that the $115,200.00

   sales price used as the value basis for the loan funded by wire [HUD-1

   Settlement Statement, Line 812.] on 3/22/10 was in excess of the represented

   97% loan-to-value mortgage originated for $111 ,744.00.

C. 	 That $109,000.00 FHA appraisal was also hidden because combined with the

   Plaintiff(s) $109,000.00 purchase counter offer on 2/4/10; solid documentation

   would exist of the willful over-valuation of the subject property by the involved

   Defendants. Broker Berry facilitated the refusal of the Plaintiff(s) $109,000.00

   purchase counter offer on 2/5/10. A counter offer from FANNIE MAE above

   the known appraised value facilitated by Broker Berry was faxed from the

   Century 21 All Pro Realty office to Plaintiffs' Realtor K. Grewell on the

   afternoon of 2/5/10 before any other Buyer offers were presented.

D. 	 Broker Mary Berry on March 22, 2010 had knowledge of, participated and

   allowed the wire funding and origination of the FANNIE MAE loan over the

   1/4/10 appraised value. Broker Berry did not intervene with the loan funding on

   3/22/10. Broker Berry had possession of the fully documented appraisal for the

   property in February 2010. The HUD-1 Settlement Statement dated 3/22/10,

   Line 812 reports a wire fee to Red Rock Mortgage for $100.00 for the loan

   funding.

E. 	 Broker Mary Berry's Century 21 All Pro Realty Office in Oklahoma City,

   Oklahoma, accepted U.S. Mail service for an envelope mailed by Plaintiff Gary

   Morris in Dallas, Texas, on December 22,2009. The envelope [U.S. Postal

   Service Delivery Confirmation # 9405 5036 9930 0092 6978 42] from Gary


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 25 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 26 of 80



   Morris addressed to Defendant Laretta Murray contained a personal check

   payable to Allstate Exterminating Service for $115.00 (HUD-1 Settlement

   Statement dated 3/22/10, Line 1303.) The check was payment for completion

   of the property pest inspection that was performed on December 23, 2009.

   Plaintiff(s) allege Broker Berry's use of mail services in the furtherance in the

   unlawful operation of the enterprise is a violation of 18 U.S.C.1341.

F. 	 Broker Berry participated in the willful forcing of Plaintiffs out of being able to

   use their pre-approved lower interest rate FHA loan during the period between

   2/4/10 - 2/10/10. Broker Berry participated in a series of schemes, facilitated

   counter offers and utilized Buyer's 12112/09 fiduciary information obtained from

   the 12/16/09 purchase transaction to financially maneuver the Plaintiff(s) out of

   their pre-approved FHA loan. The higher rate FANNIE MAE loan which was

   1.3% higher interest equates to $133.00 per month additional payment. This

   $133.00 per month additional payment totals $47,880.00 at the end of the

   current 30 year mortgage contract. Allege violation(s): 18 U.S.C 1012; 18 U.S.C.

   1010; and 59 0.S.§858-312(2), Rule 605:10-17-5(1).

G. 	 Broker Berry, submitted a 12/22/09 requested counter offer for Selier/FANt\IIE

   MAE to pay Buyer's allowable closing cost on or after 1/11/10. Plaintiff(s)

   requested the closing cost counter offer during a speaker telephone

   conversation on 12/22/09 between Candice Morris and Broker Berry. Laretta

   Murray was present in Broker Berry's office during that conversation. Plaintiffs

   suffered almost $5,000.00 of financial damage due to the untimely submission

   of the 12/22/09 Counter Offer request for Seller paid closing cost.


          PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                  Morris v. Century 21 All Pro Realty, et al 

                               Page 26 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 27 of 80



H. 	 The purchase contract was fully executed on 12/23/09 by FANNIE MAE

   without submission of the Buyer's verbal counter offer for FANNIE MAE to pay

   allowable closing cost. Plaintiffs were denied a typical Buyer benefit noted in

   the January 4, 2010 FHA Appraisal- HK5330KC (FANNIE MAE Form 1004MC

   -March 2009, Page 1). The appraisal stated that "Typically closing cost of 1­

   3% of sales price" in that present market period. Mary Berry, individually and

   d/b/a Century 21 All Pro Realty violated: 590.S.§858-353.(A)(1)(2)(a)(b)(c).

I. 	 Plaintiffs allege U.S. mail service was used in Broker Berry's Century 21 All Pro

   Realty Office on or about January 18, 2010 to return Plaintiffs $1,000.00

   earnest money deposit submitted on December 16, 2009 to Century 21 All Pro

   Realty. A check from Century 21 All Pro Realty for $1,000.00 was mailed to

   Plaintiff Gary Morris in Dallas, Texas. Mary Berry, individually and d/b/a

   Century 21 All Pro Realty violated: 18 U.S.C. 1341- Mail Fraud.

J. 	 Broker Berry, individually and d/b/a Century 21 All Pro Realty acted

   intentionally or recklessly on February 8, 2010, in awarding the purchase

   contract for the subject property to another Buyer with the lower net bid at the

   conclusion of a "highest and best" bidding period between Plaintiff Gary Morris

   and an unknown Buyer. This scheme will be hereafter called the "Possibly

   made a Mistake" scheme, one of many schemes the enterprise uses to willfully

   overvalue property.

K. 	 The intentional or reckless actions in awarding the purchase contract to a lower

   bidder resulted in immediate and long term financial damage in excess of

   $60,000.00 to Plaintiffs. Due to the willful over valuing, Plaintiffs were unable


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 27 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 28 of 80



   to 	use their pre-approved FHA financing. The 30 year FHA financing had a

   fixed lower interest rate for Plaintiffs. Mary Berry, individually and d/b/a Century

   21 	All Pro Realty violated 18 U.S.C. 1012 -HUD Transactions.

L. 	 Broker Berry made a sworn statement to Federal HUD Investigator, Eduardo

   Garza, Jr., on or about June 29, 2010 that all Century 21 All Pro Buyers are

   basically given the same treatment as Plaintiffs Morris.

M. 	Broker Berry submitted a known material statement concerning Gary Morris's

   FHA 'financing that was cited in the June 29, 2010 final investigative report

   conclusions for investigations HUD No.:06-10-0424-8 and OHRC No.: 2010-3

   by HUD Investigator Garza. Broker Berry claimed on 12/23/09 that Gary Morris

   "changed their lender from a conventional lender to a FHA ... ". Broker Berry

   was given a Mortgage Loan Commitment letter stating a LTV (Loan-To-Value)

   of 96.500% on 12/16/09 with the Plaintiffs initial written offer to purchase the

   subject property. The pre-approved FHA loan letter for Plaintiff Gary Morris

   from Red Rock Mortgage was dated 12/15/09 and is solid evidence of Plaintiffs

   initial intention to use an FHA loan. The loan commitment letter was required

   with the Purchase Offer on the subject FANNIE MAE owned property. Broker

   Berry's sworn statement to the HUD government official saying, Plaintiffs

   Morris "changed their lender from a conventional lender to a FHA", was false

   since Broker Berry was in possession of the pre-approved FHA loan letter

   concurrent with the 12/16/09 purchase offer. That false statement with others

   influenced the outcome of a government investigation. That statement by

   Broker Berry also masked willful participation in the scheme maneuvering


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 28 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 29 of 80



   Plaintiffs to use the higher interest rate FANNIE MAE loan. A materially false

   statement knowing it to be untrue to a government official is in violation of

   Statements generally [18 U.S.C. 1001].

N. 	 The RICO enterprise operates with the intention that FANNIE MAE Buyers will

   use a FANNIE MAE loan. The higher interest rate FANNIE MAE loan was

   never the initial intention of Plaintiff(s) Morris for 'financing the FANNIE MAE

   owned property.

O. Broker Mary Berry's participation in the alleged multiple offer "possibly made a

   mistake" scheme on or about the period during 2/5/10 - 2/10/10, caused

   Plaintiffs Morris extreme emotional distress when informed they lost the house

   they thought would be their new Oklahoma home.

P. 	 Broker Mary Berry had authority to simply correct their "possibly made a

   mistake" error and mitigate damages by awarding the purchase contract to

   Buyer Morris with the first "highest and best" offer. Defendant Berry instead

   participated in using this scheme to willfully overvalue the subject property

   above the known 1/4/10 FHA appraisal price of $109,000.00. This willful

   overvaluing was then used to influence Red Rock Mortgage, and other

   interstate 'financial institutions, to participate in an insufficient collateral loan for

   $111,744.00, that funded by wire on 3/22/10. Allege violation(s):18 U.S.C. 1344;

   18 U.S.C. 1343; 59 O.S.§858-312(8), Rule 605:10-17-4(12), Rule 605:10-17-5(1).

Q. 	Broker Berry denied Plaintiffs benefit of the advertised 3.5% buyer incentive.

   The marketing 1'Iyer read: New Closing Cost Assistance and Appliance

   Incentive" FANNIE MAE is offering a 3.5% incentive for buyers who purchase


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 29 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 30 of 80



          and close on a FANNIE MAE-owned home between January 28 and April 30,

          2010." 'To be eligible for this incentive: i) Offers must be accepted on or after

          January 28,2010" - Plaintiffs offer was accepted in February 2010 ii) "Property

          sale must close before May 1,2010" - Plaintiffs sale closed on March 22,

          2010. iii) "Buyers must be owner-occupants, investors are excluded"­

          Plaintiffs are owner-occupants. Other than to check for Lender limitations, no

          other restrictions were published. Plaintiff(s) clearly complied with all the

          requirements to obtain this 3.5% buyer incentive and requested the same.

      R. 	 Broker Berry's sworn statement to HUD Investigator Garza Jr. that was cited in

          the HUD Determinations report signed June 30,2010, in the second paragraph

          up from Section IV. FIt\IDINGS AND CONCUSIONS claimed the advertised

          and stated "buyer incentive" to be a "negotiable item". By Broker Berry's

          admission of "negotiable item", she knowingly advertised a "buyer incentive"

          with false pretenses. Allege Oklahoma Consumer Protection and Real Estate

          Commission violation(s): 59 0.S.§858-312(2)(8), Rule 605:10-17-4(12) and 150.5.

          §753(8)(20) as defined in: 150.5. §752(9)(13).

      S. 	 Plaintiffs suffered financial damages in excess of $60,000.00 within a 30 day

          period to purchase the same 2 bedroom, "as-is" foreclosed home as a result of

          Mary Berry's participation in the RICO enterprise operations.



Genny Ulrey - FANNIE MAE designated Signor and Oklahoma REO Closing and Title
Services, LLC employee (RICO person and RICO enterprise upper management)­

The alleged unlawful acts by the FANNIE MAE designated signer and Title Officer were

committed in the course of her employment as a Title Officer and within the scope of her
                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 30 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 31 of 80



authority under FA~I~IIE MAE. FANNIE MAE also benefited from this officer's offensive

conduct by increased revenue of the property sales price and mortgage interest.

      A. 	 Defendant Ulrey intentionally omitted the $350.00 cost of an appraisal on Line

          804 of the HUD-1 Settlement Statement dated 3/22/10. This material omission

          on Line 804 misled the United States government and other interstate financial

          institutions. A full copy of the 1/4/10 dated FHA appraisal was submitted to

          FANNIE MAE on 2/4/10, with the Buyer's new counter offer at the appraisal

          price.

      B. 	 Defendant Ulrey and other Oklahoma REO Closing and Title Services

          employees had possession and knowledge of the 1/4/10 FHA appraisal

          (HK5330KC) from the 12/16/09 initial purchase transaction cancelled by

          Plaintiffs on or about January 18, 2010 for the subject property. The material

          omission on the HUD-1 Settlement Statement hid the $109,000.00 value of the

          property mortgaged for $111 ,744.00. Allege violation 18 U.S.C 1001 and 18

          U.s.c 1010.
      C. 	 Defendant Ulrey signed the HUD-1 Settlement Statement on behalf of the

          Federal National Mortgage Corporation (FA~INIE MAE) on the last page,

          swearing the HUD-1 Settlement Statement to be complete and correct.

          Defendant Ulrey had 'full knowledge of the appraisal on or before 3/22/10 when

          the incomplete document was signed and submitted. Defendant Ulrey knew or

          should have known the material omission of the appraisal would defraud the

          U.S. government and other interstate financial institutions as subsequent

          funding and servicing of this over valued FANNIE MAE mortgage took place.


                   PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                           Morris v. Century 21 All Pro Realty, et al 

                                        Page 31 of 80 

        Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 32 of 80



      D. 	 Defendant Ulrey used a wire transfer (see Line #812 on final HUD-1 Settlement

         Statement - File #15258) dated March 22, 2010 to complete loan funding on

          the subject property. Defendant Ulrey had knowledge of the falsely represented

          97% loan-to-value mortgage prior to the wire transfer and funding. Plaintiffs

          allege violation of wire fraud in conducting unlawful acts of the enterprise. [18

          U.S.C.1343].

      E. 	 Utilized U.S. mail service to further operations of the enterprise when

          Oklahoma County recorded title documents showing legal ownership transfer

          were mailed to Plaintiffs at subject property after March 22, 2010 closing.

          Allege violation of 18 U.S.C.1341.

Keenan Kirby - FANNIE MAE Assistant Vice-President (RICO person and RICO
enterprise upper management) ­

The alleged unlawful acts by FANNIE MAE employee/corporate officer Keenan Kirby

were committed in the course of his employment and within the scope of his employee

authority under FANNIE MAE. FANNIE MAE also benefited from this officer's offensive

conduct by increased revenue of the property sales price and mortgage interest.

      A. 	 Willfully overvalued the subject property for the purpose of influencing the

          interstate lending institutions of Red Rock Mortgage and Flagstar Bank. A

          thirty year FANNIE MAE mortgage loan was originated and then transferred to

          another lending institution on a property appraised at less value than the falsely

          represented 97% loan-to-value mortgage balance of $111,744.00. [18 U.S.C

          1014 -Loan and credit applications].

      B. 	 Use of wire transfer (see Line #812 on final HUD-1 Settlement Statement - File

          #15258) dated March 22, 2010 to complete loan funding on subject property

                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 32 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 33 of 80



   with knowledge of falsely represented 97% loan-to-value mortgage. Plaintiffs

   allege violation of wire 'fraud in conducting unlawful acts of the enterprise. [18

   U.S.C.1343].

C. 	 Utilized U.S. mail service to further operations of the enterprise and to transport

   marketing flyers. The specific multi-color marketing flyers advertising a 3.5%

   FANNIE MAE New Closing Cost Assistance and Appliance Incentive effective

   during the period of 1/28/10-4/30/10 to Buyers of FANNIE MAE-owned

   properties.

D. 	 The advertised Buyer incentive was later sworn to be a "negotiable item" in a

   HUD investigation report. The incentive was not honored after compliance with

   all the terms listed on the marketing flyer. There was no language included on

   the flyer that indicated any further requirements other than those stated on the

   flyer. Plaintiffs allege this marketing flyer was used as a fraudulently promised

   incentive to induce Buyers to purchase FANNIE MAE property. This was

   alleged false advertisement in violation of Oklahoma Consumer Protection

   Laws 15 0.5. 751 and 752(13) and the interstate transporting of the flyers is an

   alleged violation of 18 U.S.C. 1341.

E. 	 Defendant rejected Plaintiff's purchase offer of previous contracted price of

   $107,000.00 on or about 2/3/10.

F. 	 A full copy of the 1/4/10 dated FHA appraisal HK5330KC was submitted on

   2/4/10, with the Buyer's new counter offer at the appraisal price of

   $109,000.00. Plaintiff/Buyer offered to satisfy all FHA lender requirements at

   Buyer's expense and requested 3.5% advertised FANNIE MAE Buyer


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 33 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 34 of 80



   incentive. That counter offer was rejected by Keenan Kirby on 2/5/10 before

   there were any other Buyer offers.

G. Plaintiffs allege Keenan Kirby violated Bank Fraud [18 U.S.C.1344] when he

   knowingly executed a scheme to have the financial institution of Red Rock

   Mortgage fund an insufficient collateral mortgage (FANNIE MAE loan

   #1002144) on March 22, 2010 for the subject property.

H. 	 Keenan Kirby authorized Red Rock Mortgage to fund the known falsely valued,

   March 22, 2010 FANNIE MAE loan by wire, as indicated by the wire fee

   payment on the HUD-1 Closing Statement. Violates: 18 U.S.C.1343.

I. 	 Keenan Kirby knowingly influenced the interstate financial institutions of Red

   Rock Mortgage and Flagstar Bank on 3/22/10 by representing a FANNIE MAE

   97% loan-to-value mortgage (Contract Sales Price: $115,200.00 with 97%

   value loan of $111 ,744.00) for funding. Keenan Kirby had full knowledge and

   was in possession of the 1/4/10 dated appraisal (HUD-FHA HK5330KC)

   stating value at $109,000.00, well under the $115,200.00 sales price that was

   instead used as the basis of value for the loan. Violates: 18 U.S.C. 1014.

J. 	 Keenan Kirby knowingly participated in originating an over 100% loan-to-value

   mortgage on March 22, 2010 while representing the new FANNIE MAE

   mortgage (Loan #1002144) to be 97% loan-to-value. This March 22, 2010

   FANNIE MAE loan impacted the U.S. Department of Treasury and the current

   FANNIE MAE conservator, Federal Housing Finance Agency. The U.S.

   Treasury currently guarantees the funding for FANNIE MAE while under U.S.




         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et al 

                              Page 34 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 35 of 80



          conservatorship of the Federal Housing Finance Agency. Violates: 18

          U.S.C.1344 and 18 U.S.C. 1001.

       K. 	 Keenan Kirby approved the 3/22/10 H U 0-1 Settlement Statement, File #15258

          with the material omission of the $350.00 dollar amount on Line 804 for the

          known FHA appraisal (HK5330KC). Violates: 18 U.S.C. 1012 and 18 U.S.C.

          1010.

       L. 	 Plaintiffs suffered extreme emotional distress from all the schemes of the

          enterprise; as well as, weeks of Keenan Kirby's delay in signing the final

          purchase contract from 2/10/10 until 3/5/10. The delayed executed contract

          and subsequent delayed closing caused Plaintiff Gary Morris to live in various

          Oklahoma City hotels. Gary Morris was in training for his new job in a new

          state after almost eighteen months of unemployment in Texas. Plaintiff

          Candice Morris could not join her husband, Gary Morris, in Oklahoma City

          without a residence to maintain their large pets.

       M. 	Plaintiffs suffered financial damages in excess of $60,000.00 within a 30 day

          period to purchase the same 2 bedroom, "as-is" foreclosed home as a result of

          Keenan Kirby's participation in the RICO enterprise operations.

Federal National Mortgage Association d/b/a FANNIE MAE ­
Plaintiffs allege FANNIE MAE, is liable under the theory of respondeat superior for

negligent and intentional acts of FANNIE MAE agents, Genny Ulrey and Oklahoma REO

Closing & Title Services, LLC.

FANt\IIE MAE was indifferent to the Plaintiffs' letters and calls to two FANNIE MAE

corporate officers and numerous calls to the FANNIE MAE Hotline requesting

intervention in an irregular sales transaction. Written notification by the Plaintiffs

                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 35 of 80 

..            Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 36 of 80



     heightened the sense of wrong doing in the transactions with the subject property located

     at 1805 NE 6ih Street; Oklahoma City, Oklahoma, but FANNIE MAE failed to take

     corrective actions. Model Penal Code Section 2.02(7)

           A. 	 FANNIE MAE should not skirt corporate liability by using its FANNIE MAE

               Hotline. The Hotline gives the appearance of FANNIE MAE trying to mitigate

               damages by allowing a means for customers to report problems. FANNIE

               MAE took no actions to mitigate damages or intervene in the sale of the subject

               property after numerous calls and letters.

           B. 	 1/25/10 at 11 :06 AM - An email from Plaintiffs to:

               headquarters@fanniemae.com and_Kenneth_Bacon@FannieMae.com

               Subject: Fair Housing Complaint -Fannie Mae REO

           C. 	 4/8/11 at 12:16 AM - An email fromPlaintiffstofraud_tips@fanniemae.com

               with a specific request to deliver the attached April 7, 2011 letter to -Nancy

               Jardini, Senior Vice President and Chief Compliance and Ethics Officer.

           D. 	 FANNIE MAE, may be vicariously liable through its representative agents:

               Genny Ulrey and Oklahoma REO Closing & Title Services, LLC. The

               representative(s) signed for certification and submitted an incomplete HUD-1

               Settlement Statement, File number 152587 to the U.S. government on 3/22/10.

               Line 804 value of $350.00 of the HUD-1 settlement statement was a material

               omission. The omission hid the existence of the FHA Appraisal (HK5330KC)

               with a value far less then the FANNIE MAE mortgage loan that was funded on

               March 22, 2010.




                     PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                             Morris v. Century 21 All Pro Realty, et al 

                                          Page 36 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 37 of 80



      E. 	 The FANNIE MAE representative agents: Genny Ulrey and Oklahoma REO

          Closing & Title Services, LLC used wire transmissions to fund the FANNIE

          MAE mortgage on March 22, 2010, evidenced by HUD-1 Settlement

          Statement, Line 812 wire fee of $100.00 to Red Rock Mortgage & Lending.

          Allege violation of 18 U.S.C.1343 - Wire fraud.

Jennifer Wiewel -Century 21 All Pro REO Sales Coordinator (RICO person and RICO

enterprise middle management) ­

The alleged unlawful acts by real estate agent/employee Jennifer Wiewel were

committed in the course of her association/employment and within the scope of her real

estate agent/employee authority under the brokerage of Century 21 All Pro Realty:

          A. 	 Wiewel knowingly made a material omission to the United States on the

              HUD-1 Settlement Statement, File number 152587, by omitting the $350.00

              cost of the 1/4/10 FHA appraisal. This material omission was done

              intentionally. The United States and other interstate financial institutions

              were influenced on March 22, 2010 with misrepresentation of a FANNIE

              MAE 97% loan-to-value mortgage that was in fact over 100% loan-to-value.

              Wiewel and the enterprise originated a mortgage with known insufficient

              collateral- the subject real property. Wiewel reviewed documents with the

              known misrepresented mortgage and did not intervene to correct the

              documents nor did she report known illegal activity to authorities. Plaintiffs

              allege Jennifer Wiewel violated 18 U.S.C. 1001; 18 U.S.C. 1010; and 18

              U.S.C. 1344.




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 37 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 38 of 80



B. 	 Jennifer Wiewel on 2/4/10 had knowledge and possession of the 1/4/10

    FHA Appraisal - HK5330KC which stated property value at $109,000.00

    when it was faxed with the Plaintiff(s) purchase counter offer by Plaintiff(s)

    Realtor Grewell to FANNIE MAE and Century 21 All Pro Realty. The

    $350.00 cost for the appraisal was paid by Plaintiff Gary Morris.

C. 	 Jennifer Wiewel faxed a refusal to the Plaintiff(s) $109,000.00 purchase

    counter offer on the afternoon of 2/5/10 to Plaintiff(s) realtor Grewell, before

    any other offers were presented on the subject property [allege violation of

    18 U.S.C.1343 - Wire Fraud].

D. 	 Jennifer Wiewel participated in willful maneuvering of Plaintiffs out of being

    able to use their pre-approved lower interest rate FHA loan during the

    period between 2/4/10 - 2/10/10. Wiewel coordinated and influenced the

    results of counter offers on the subject property with infliction of her

    personal comments accompanying the faxed and emailed counters.

    Wiewel used the Plaintiffs fiduciary information from the 12/16/09 purchase

    transaction and manipulated the counter offers so that the sales price,

    down payment and closing cost terms were financially impossible for the

    Plaintiffs to use their pre-approved lower interest rate FHA loan. Wiewel's

    actions with the counter offers subsequently maneuvered Plaintiffs to use

    the next best financing option, a FANNIE MAE loan with higher interest.

E. 	 Wiewel caused the Plaintiffs to pay an additional $47,880.00 of loan

    payments for the same property with her participation in the unlawful RICO

    schemes. This portion of the Plaintiffs' damages was the result of the 1.3%


      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 38 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 39 of 80



    higher FANNIE MAE interest rate loan the Plaintiffs were maneuvered to

    using. The Plaintiffs now pay $133.00 per month of additional mortgage

    payment for the 30 year contract of the mortgage. Allege violation(s): 18

    u.s.c 1012; 18 U.S.C. 1010; and 59 O.S.§858-312(2), Rule 605:10-17-5(1).
F. 	 Jennifer Wiewel, acted intentionally or recklessly on February 8, 2010, in

    awarding the purchase contract to another Buyer with the lower net bid at

    the conclusion of a "highest and best" bidding period between Plaintiff Gary

    Morris and unknown Buyer. This scheme, where Jennifer Wiewel admits

    she "possibly made a mistake", was used to willfully overvalue property.

G. 	 The intentional or reckless actions in awarding the purchase contract to the

    lower bidder resulted in immediate and long term financial and emotional

    damage to the Plaintiffs due to the willful over-valuing. The Plaintiffs pre-

    approved 30 year FHA financing had a lower fixed interest rate. 'Jennifer

    Wiewel's participation in the alleged multiple offer "possibly made a

    mistake" scheme on or about the period during 2/5/10 - 2/10/10, caused

    Plaintiffs Morris extreme emotional distress when informed they lost the

    house they thought would be their new Oklahoma home and then days

    later learned they had to pay almost $60,000 more for the same 1935 built,

    two bedroom foreclosure home they loved. Jennifer Wiewel was aware

    from the Plaintiffs 12/16/09 contract that the Plaintiff(s) were only relocating

    and purchasing a home in Oklahoma because Gary Morris had just

    secured a job after 18 months of unemployment in Texas. With Ms.

    Wiewel's unlawful enterprise participation, the Plaintiffs were unable to use


      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 39 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 40 of 80



    their pre-approved FHA financing and the 1935 year built, two bedroom

    subject property for which the Plaintiff(s) had a $107,000.00 purchase

    contract until January 2010, was now contracted at $115,200.00 in

    February 2010 without benefit of a 3.5% advertised Buyer incentive or any

    seller paid concessions.

H. 	 Jennifer Wiewel had to simply correct her "possibly made a mistake" error

    and mitigate damages. Jennifer Wiewel instead participated in using this

    scheme to willfully overvalue the subject property above the known 1/4/10

    FHA appraisal price of $109,000.00. This willful overvaluing was then used

    to influence Red Rock Mortgage, a financial institution, to participate in an

    insufficient collateral loan. Allege violation(s):18 U.S.C. 1344;18 U.S.C. 1343;

    59 0.S.§858-312(8), Rule 605:10-17-4(12), Rule 605:10-17-5(1).

 I. 	 Jennifer Wiewel denied Plaintiffs benefit of the advertised 3.5% buyer

    incentive by failing to produce goods as advertised. The marketing flyer

    read: New Closing Cost Assistance and Appliance Incentive "FANNIE

    MAE is offering a 3.5% incentive for buyers who purchase and close on a

    FANNIE MAE-owned home between January 28 and April 30, 2010." "To

    be eligible for this incentive: i) Offers must be accepted on or after January

    28, 2010" - Plaintiffs offer was accepted in Februarv 2010 ii) "Property sale

    must close before May 1, 2010" - Plaintiffs sale closed on March 22. 2010.

    iii) "Buyers must be owner-occupants, investors are excluded" - Plaintiffs

    are owner-occupants. Other than to check for Lender limitations, no other

    restrictions were published.


      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 40 of 80 

:
             Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 41 of 80



              J. 	 Jennifer Wiewel made a sworn statement to HUD Investigator Garza .Jr. in

                  the HUD Determinations report signed June 30, 2010, in the second

                  paragraph up from Section IV. FINDINGS AND CONCUSIONS, Wiewel

                  claimed the advertised and stated "buyer incentive" to be a "negotiable

                  item". By Wiewel's admission of "negotiable item", she knowingly

                  participated in advertising a "buyer incentive" with false pretenses. Allege

                  violation(s): 59 0.5.§858-312(2)(8), Rule 605:10-17-4(12) and 150.5.

                  §753(8)(20) as defined in: 150.5. §752(9)(13).



    Ronald Murray Century 21 All Pro Real Estate Agent (RICO Person) ­
    The alleged unlawful acts by real estate agent Ronald Murray were committed in the

    course of his association/employment and within the scope of his real estate agent

    authority under the brokerage of Century 21 All Pro Realty:

              A. 	 Ronald Murray was obligated to work solely for the seller's/FANNIE MAE's

                  best interest in a Single-Party Broker contract. Ronald Murray failed to

                  disclose his contractual obligation to FANNIE MAE at any time between

                  meeting Plaintiffs on 12/12/09 and before driving the Plaintiffs to his

                  Century 21 All Pro Realty Office on 12/16/09 to execute the Offer to

                  Purchase on the subject property. Plaintiffs Morris flew in from Dallas,

                  Texas to Oklahoma City, Oklahoma 01112/16/09 for the sole purpose of

                  executing a purchase contract on the subject property before flying back to

                  Dallas, Texas that same day. Ronald Murray had pre-arranged to provide

                  the Plaintiffs round trip transportation from Will Rogers Airport to his realty

                  office.
                    PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                            Morris v. Century 21 All Pro Realty, et a1 

                                         Page 41 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 42 of 80



 B. 	 Defendant Ronald Murray was present and made no attempts to neither

    explain the Transaction Broker form nor deny the explanation given by his

    wife, Defendant, real estate agent, Laretta Murray on December 16, 2009

    in the Century 21 All Pro Realty conference room. Laretta Murray

    represented that she and real estate husband, Ronald Murray were Realtor

    representatives for Plaintiff(s) Morris and other Century 21 All Pro Realty

    "professionals" represented FANNIE MAE/Seller, to induce Plaintiff Gary

    Morris to sign the form so that Realtors Murray would gain a commission.

 C. 	 Ronald Murray failed to inform himself o'f pertinent facts, such as market

    conditions and pricing, of the property. Ronald Murray told Plaintiffs on

    12/12/09 that the subject property at 1805 f\lE 6ih Street was being sold at

    a great price because it had been "recently reduced" to a list price of

    $119,900.00. That statement was later proven to have been negligence or

    incompetence since the value at $119,900 was grossly over priced with a

    $109,000.00 FHA appraisal on 1/4/10.

 D. 	 Ronald Murray continued to deprive Plaintiff(s) of honest services when he

    did not disclose another material fact that Seller/FANNIE MAE was able to

    pay up to 6% of Buyer's Allowable Closing Cost. Plaintiffs allege the

    actions of Ronald Murray described in the immediately proceeding

    paragraphs A, B and this paragraph C comprised a scheme as defined in

    18. U.S.C.1346 to deprive Buyers of honest services. Allege violation(s):18

    U.5.C. 1346; 150.5. §753(11)(20) as defined in:15 0.5. §752(8)(13); 15 


    0.5.§58(1 )(3) 



      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 42 of 80 

.. 
   Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 43 of 80



        E. 	 Ronald Murray, submitted a document for SC-2011-2436 'filed on 2/23/11

           and sworn under oath with the District Court of Oklahoma County; stating

           Laretta Murray had "no involvement" in the December 2009 real estate

           transaction with Buyers (Plaintiffs Morris). R. Murray submitted this

           statement to government officials knowing the statement to be false. R.

           Murray knew several counter offers, telephone conversations, and

           electronic mailings for the transaction were sent directly to/from Laretta

           Murray from/to J. Wiewel and C. Morris. R. Murray informed C. Morris by

           telephone on 12/22/09 that L. Murray was in Broker Berry's office

           discussing Plaintiffs Morris' transaction when C. Morris called to speak with

           L. 	Murray concerning issues with the transaction.

        F. 	 Plaintiff(s) were told by Ronald Murray on 12/16/09 there were no sales in

           the neighborhood. Plaintiffs heard from another source there had been a

           foreclosure property located at 1701 NE 6ih Street; Oklahoma City 73111

           (three houses away) with 2 acres. Defendant Murray knew or should have

           known about this recent sale on the same street. On December 19, 2009

           at 9:20am, Plaintiffs sent an email tolaretta.murray1@century21.com

           requesting Laretta & Ron to get information on that specific property

           address. Ronald Murray again claimed to Plaintiffs Morris that no

           information was available for that property.

        G. 	On 12/20/09 Plaintiffs discovered through internet research the foreclosed

           home at 1701 NE 6ih Street sold for $56,900 on 6/30/09.




             PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                     Morris v. Century 21 All Pro Realty, et al 

                                  Page 43 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 44 of 80



 H. 	 Ronald Murray accepted U.S. Mail service at the Century 21 All Pro Realty

    Office in Oklahoma for an envelope mailed by Plaintiff Gary Morris in

    Dallas, Texas, on December 22, 2009. The envelope [U.S. Postal Service

    Delivery Confirmation # 9405 5036 9930 0092 6978 42] from Gary Morris

    addressed to Defendant Laretta Murray contained a personal check

    payable to Allstate Exterminating Service for $115.00 (HUD-1 Settlement

    Statement dated 3/22/10, Line 1303.)

 I. 	 Plaintiff Morris' $115.00 personal check was delivered to an Allstate

    Exterminating Service by Defendants Murray. The check was payment for

    completion of the property pest inspection on 12/23/09. Plaintiff(s) allege

    Ronald Murray's use of mail services in the furtherance in the unlawful

    operation of the enterprise is a violation of 18 U.S.C. 1341 .

 J. 	 Plaintiffs allege U.S. mail service was used by Ronald Murray in the

    Century 21 All Pro Realty Office on or about January 18, 2010 to return

    Plaintiffs $1,000.00 earnest money deposit. A check 'from Century 21 All

    Pro Realty for $1,000.00 was mailed to Plaintiff Gary Morris in Dallas,

    Texas. Ronald Murray utilized U.S. mail service to facilitate the operations

    of the enterprise. [18 U.S.C. 1341].

 K. 	 Ronald Murray submitted a known materially false statement concerning

    Gary Morris's FHA financing that was cited in the June 29, 2010 final

    investigative report by HUD Investigator Garza, Jr. Ronald Murray claimed

    that on 12/23/09 Gary Morris "changed their lender from a conventional

    lender to a FHA ... " Plaintiff Gary Morris submitted a Mortgage Loan


      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 44 of 80 

Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 45 of 80



    Commitment letter for an FHA loan dated 12/15/09 from Red Rock

    Mortgage to Ronald Murray with the 12/16/09 Purchase Offer on the

    subject property.

 L. 	 The 12/15/2009 Mortgage Loan Commitment letter clearly states a LTV of

    96.500% which indicates an FHA loan. Plaintiffs Morris' initial intentions for

    'financing were with the more affordable FHA interest rate loan. Ronald

    Murray completed the purchase offer with intent of the enterprise

    persuading Plaintiffs Morris to select the conventional FANNIE MAE

    financing on 12/16/09.

 M. 	The material statement concerning Gary Morris' non-existent conventional

    loan was cited by HUD Investigator, Eduardo Garza, Jr. on or about June

    29,2010 in the final investigative report conclusions for investigations HUD

    No.:06-10-0424-8 and OHRC No.: 2010-3. The statement was sworn

    under penalty of perjury by Ronald Murray. Plaintiffs allege Ronald Murray

    made a materially false statement knowing it to be untrue to a government

    official in a HLiD investigation denying Plaintiff(s) FHA loan commitment

    violated Statements generally [18 U.S.C. 1001].

 N. 	 On 12/22/09, Ronald Murray received a 15 page (included cover page) fax

    of the Contract Addendums to fax number 405-632-2444 from Plaintiff(s)

    Morris home fax machine in Dallas, Texas. Ronald Murray utilized wire

    service to facilitate the operations of the enterprise. [18 U.S.C. 1343]




      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

              Morris v. Century 21 All Pro Realty, et al 

                           Page 45 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 46 of 80



          O. 	 Plaintiffs suffered financial damages in excess of $60,000.00 within a 30

              day period to purchase the same 2 bedroom, "as-is" foreclosed home as a

              result of Ronald Murray's participation in the RICO enterprise operations.



Laretta Murray Century 21 All Pro Real Estate Agent (RICO Person) ­

The alleged unlawful acts by real estate agent Laretta Murray were committed in the

course of her association/employment and within the scope of her real estate agent

authority under the brokerage of Century 21 All Pro Realty:

      A. 	 Laretta Murray was obligated to work solely for the seller/FANNIE MAE's best

          interest in a Single-Party Broker contract. Laretta Murray did not disclose or

          offer to explain that fact to Plaintiffs at any time before or after the 12/16/09

          signing of the Offer to Purchase on the subject property.

      B. 	 Laretta Murray made a fraudulent statement to induce Plaintiffs Morris into the

          12/16/09 purchase contract for the subject property. Laretta gave a knowingly

          false explanation of the Transaction Broker agreement when asked for

          clarification by Plaintiff Gary Morris prior to signing the form. Laretta Murray

          would have benefited financially from the fraudulent inducement to enter those

          contracts.

      C. 	 Laretta Murray represented that she and real estate husband, Ronald Murray

          were Realtor representatives for Plaintiff(s) Morris and other Century 21 All Pro

          Realty "professionals" represented FANNIE MAE/Seller, to induce Plaintiff

          Gary Morris to sign a Transaction Broker form so that Realtors Murray would

          gain a commission. Plaintiffs allege this was a scheme as defined in 18.


                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 46 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 47 of 80



   U.S.C.1346 to deprive Buyers of honest services. Allege violation(s):18      u.s.c.
   1346;15 O.S. §753(11)(20) as defined in:15 O.S. §752(8)(13); 15 0.S.§58(1)(3)

D. 	 Laretta Murray submitted under oath to government officials, a document for

   SC-2011-2436 filed on 2/23/11 with the District Court of Oklahoma County;

   stating she had "no involvement" in the December 2009 real estate transaction

   with Buyers (Plaintiffs Morris). Laretta Murray was the main realtor contact for

   the Buyers Morris in negotiating the 12/16/09 purchase contract and financing.

   As a result of Laretta Murray's consistent involvement in the Plaintiffs' real

   estate purchase transaction through emailed counter offers during contract

   negotiations and telephone conversations; along with written and spoken

   statements to the Plaintiffs, they believed Laretta Murray to be their agent.

E. 	 Laretta Murray accepted U.S. Mail service at the Century 21 All Pro Realty

   Office in Oklahoma 73137-9247 for an envelope mailed by Plaintiff Gary Morris

   in Dallas, Texas 75224-5025, on December 22,2009. The envelope [U.S.

   Postal Service Delivery Confirmation # 9405 5036 9930 0092 6978 42] from

   Gary Morris addressed to Laretta Murray contained a personal check payable

   to Red Rock Mortgage for $350.00 for the FHA Appraisal HK5330KC. Plaintiff

   Morris' $350.00 personal check was delivered to Shelby Weston at Red Rock

   Mortgage. Plaintiff(s) allege Laretta Murray's use of mail services in the

   furtherance in the unlawful operation of the enterprise is a violation of

   18 U.S.C.1341

F. 	 Plaintiffs allege U.S. mail service was used by Laretta Murray in the Century 21

   All Pro Realty Office on or about January 18, 2010 to return Plaintiffs $1,000.00


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et a1 

                              Page 47 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 48 of 80



   earnest money deposit. A bank check from Century 21 All Pro Realty for

   $1,000.00 was mailed to Plaintiff Gary Morris in Dallas, Texas.

G. 	Laretta Murray made a materially false representation under oath to Federal

   HUD Investigator Garza, Jr. on or about February-March 2010, concerning her

   attendance in Broker Mary Berry's office on December 22, 2009, during a

   speaker telephone conversation with Plaintiff Candice Morris and Broker Mary

   Berry. Plaintiff C. Morris heard Laretta Murray speaking to Broker Berry during

   the speaker telephone conversation at the point where Broker Berry asked C.

   Morris if she (C. Morris) was accusing her agents of doing something wrong.

H. 	 Laretta Murray stated to HUD Investigator Garza, •.Ir. that she could not confirm

   or deny anything said by Broker Berry during that 12/22/09 speaker telephone

   conversation. Plaintiffs alleged violation of [18 U.S.C. 1001].

I. 	 During the speaker telephone conversation on December 22, 2009 between

   Broker Berry and Plaintiff Candice Morris, Broker Berry made a threat not to

   sell the subject property to Plaintiffs Morris if they canceled the December 2009

   contract for $107,000.00. Plaintiff asked for a counter offer asking FANNIE

   MAE to pay closing cost since they had not been informed of that option

   previously by the Murrays'.

J. 	 Plaintiffs allege Laretta Murray was the female with the unique southern vocal

   tone (heard from Laretta Murray on many occasions) heard in Broker Berry's

   office when Broker Berry switched the phone to speaker during the 12/22/09

   telephone conversation.




         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et a1 

                              Page 48 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 49 of 80



K. 	 Plaintiffs allege Laretta Murray made the "no involvement" statements under

   oath in efforts to avoid being forced to tell the truth in a courtroom trial.

L. 	 The purchase contract was fully executed on 12/23/09 by FANNIE MAE

   without submission of the Buyer's verbal counter offer for FANNIE MAE to pay

   allowable closing cost.    Plaintiffs were denied a typical Buyer benefit noted in

   the January 4, 2010 FHA Appraisal- HK5330KC (FANNIE MAE Form 1004MC

   -March 2009, Page 1). The appraisal stated that "Typically closing cost of 1­

   3% of sales price" in that present market period. Laretta Murray, violated: 59

   O.S.§858-353.(A)(1 )(2)(a)(b)(c).

M. 	On 12/23/09, Plaintiff(s) Morris sent a fax from their home machine in Dallas,

   Texas to Laretta and Ron Murray. The fax of five pages (included cover page)

   of the corrected Contract Addendums to fax number 405-632-2444. Laretta

   Murray utilized wire service to facilitate the unlawful operations of the

   enterprise. [18 U.S.C. 1343]

N. 	 Violated fiduciary - which was the most egregious conduct by Laretta Murray

   resulting in emotional distress to Plaintiffs Morris. The intentional acts and

   unlawful conduct were inflicted on Plaintiffs Morris after they shared

   confidential personal information with Laretta Murray. Plaintiffs trusted and

   believed Laretta to be their "Realtor". Plaintiffs Morris shared with Laretta

   Murray: unknown at that time, FANNIE MAE single-party broker representative;

   that Plaintiffs were seeking a home in Oklahoma City because Gary Morris was

   immediately required to relocate for employment after almost eighteen months

   of unemployment in Texas.


         PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                 Morris v. Century 21 All Pro Realty, et a1 

                              Page 49 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 50 of 80



      O. 	 Plaintiffs sent Laretta Murray an electronic mail prior to the December 16, 2009

          contract signing with detailed personal financial information, such as amount of

          savings available, FICO score, annual income and lack of revolving debt

          balance. Plaintiffs would never have shared that level of information with

          Laretta Murray or any other real estate agent had the single-party broker

          agreement between Century 21 All Pro Realty and FANNIE MAE been even

          partially disclosed.

       P. 	 Plaintiffs suffered financial damages in excess of $60,000.00 within a 30 day

          period to purchase the same 2 bedroom, "as-is" foreclosed home as a result of

          Laretta Murray's participation in the RICO enterprise operations.



2. 	 (Continued) Basis for liability under RICO for Defendants:

u.s.c. 18 §1962(c).
       Plaintiffs allege the following RICO persons associated with and employed by the

enterprise: Keenan Kirby; Mary Berry, Broker/Owner d/b/a Century 21 All Pro Realty;

Genny Ulrey; Jennifer Wiewel, Laretta Murray and Ronald Murray violated the following

statues that affect interstate commerce in conducting the affairs of their enterprise:


       1) 	 18 U.S.C. 1344 - Bank Fraud
       2) 	 18 U.S.C. 1343 - Wire Fraud
       3) 	 18 U.S.C. 1341 - Mail Fraud
       4) 	 18 U.S.C. 1001 - Statements or Entries Generally
       5) 	 18 U.S.C. 1010 - Department of Housing and Urban Development and
           Federal Housing Administration transactions
       6) 	 18 U.S.C. 1012 - Department of Housing and Urban Development
           transactions (intent unlawfully to defeat its purposes)
                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 50 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 51 of 80



       7) 	 18 U.S.C. 1014 - Loan and credit applications generally



   Defendant(s): Mary L. Berry, individually and d/b/a Century 21 All Pro Realty;

Defendant Keenan Kirby; Defendant Genny Ulrey; Defendant Jennifer Wiewel; Defendant

Ronald Murray and Defendant Laretta Murray all conspired with each other to engage in

a series of wrongful and illegal acts, including but not limited to, mail fraud, wire fraud,

several counts of financial institution fraud, and false statements to government officials

to hide their unlawful acts and intentions.

   Defendants intentionally participated in this conspiracy and knowingly engaged in a

pattern and practice of wrongful acts in order to originate mortgage loans with artificially

inflated property values on previously foreclosed FANNIE MAE properties.


   3. 	 Alleged wrongdoers, other than the defendants listed above and the alleged
        misconduct of each wrongdoer:

       At this time, Plaintiffs can not allege any other wrongdoers with certainty.

Plaintiffs' reserve the right to amend this section after future opportunity granted for

Discovery. There are some other suspected wrongdoers, i.e. the designated FANNIE

MAE Closing Agents in the Oklahoma City branch of Oklahoma REO Closing & Title

Services, LLC. They had knowledge of and filed the January 4,2010 FHA appraisal and

hence participated in the March 22, 2010, funding of the falsely represented 97% loan-to­

value mortgage and mailed the filed Warranty Deed to Plaintiffs on April 14, 2010.

       No other known wrongdoers other than the defendants named in this action at this

time. Subsequent discovery may confirm participation by others such as other real estate

agents in the Century 21 All Pro Realty office and the named real estate closing officers

and agency.
                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et a1 

                                      Page 51 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 52 of 80



4.   List the alleged victims and state how each victim was allegedly injured.

The U.S. Department of Treasury:

       FANNIE MAE is under Federal Housing Finance Agency (FHFA) conservatorship.

The U.S. Department of Treasury has agreed to provide capital as needed to ensure

FANNIE MAE continues to provide liquidity to the housing and mortgage markets. If

alleged mortgages of over-valued properties are purchased linsured by FANNIE MAE,

homeowners will once again be unable to refinance their loans or sell their property at

current market value. This over-valuing will once again result in a significant number of

foreclosures; and hence financial instability for FANNIE MAE. The U.S. Department of

Treasury will need to provide capital to stabilize another sub prime mortgage crisis.

Plaintiff(s) Gary Morris and Candice Morris:

       Unable to refinance or sell the subject property appraised at $109,000 with a

$111,744 mortgage balance.

       Contractually obligated to pay a 1.3% higher rate interest mortgage loan than their

pre-approved FHA loan for a 30 year period ($133.00 x 360 months = $47,880.00).

       Were indirectly forced to pay above appraised market price with no other Buyer

offer submitted ($115,200.00 - $109,000.00     = $6,200.00).
       Denied benefit of current FANNIE MAE advertised buyer incentive of 3.5% of

sales price for appliances or closing cost (3.5% x $115,200.00     = $4,032.00).
       Denied benefit of FANNIE MAE allowable paid Buyer closing cost that Appraiser

noted were typical during in that real estate market ($5,657.88)




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 52 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 53 of 80



        Suffered emotional distress with alleged multiple offer, "Possibly made a mistake"

scheme when informed they lost the house they thought would be their new Oklahoma

home.

        Suffered extreme emotional distress from the willful over-valuing process after the

preceding eighteen months of unemployment. Plaintiffs only relocated from Texas to

Oklahoma because of a new ernployment requirement. Plaintiffs had been under

contract to purchase the subject home for $107,000 in January 2010 and then indirectly

forced to contract for $115,200 in February 2010 with a higher interest rate FANNIE MAE

loan. To summarize, in less than 30 days, the Plaintiffs suffered: 1) an immediate sales

price increase of $8,200.00; 2) contract obligation of $47,880.00 of total additional

interest for a FAt\INIE MAE loan; 3) forced to immediately pay almost $10,000.00 to

correct suspected peeling lead based paint from house exterior and window panes; and

denied advertised 3.5% Buyer Incentive ($4,032.00); ALL for the same 75 year old, two

bedroom property in the midst of the most notable unstable housing market in the history

of our country.

Flagstar Bank (an interstate financial institution): contracted to service a mortgage with

insufficient collateral (an over 100% loan-to-value mortgage). Loan = $111,744.00,

Appraised value   = $109,000.00, Sales Price = $115,200.00
Red Rock Mortgage & Lending: originated a mortgage with insufficient collateral (an over

100% loan-to-value mortgage). Loan = $111,744.00, Appraised value = $109,000.00,

Sales Price   = $115,200.00




                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 53 of 80 

.' 
            Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 54 of 80



       FANNIE MAE Stockholders: insuring/purchasing mortgage with insufficient collateral (an

       over 100% loan-to-value mortgage). Mortgage/Loan      = $111,744.00, Appraised value =
       $109,000.00, Sales Price   = $115,200.00.
       u.S. Taxpayers: pay the ultimate financial burden from failure of major financial

       institutions while under the conservatorship of the federal government. The U.S.

       Taxpayers also suffer 'financial consequences when there are an increased number of

       neighborhood foreclosures. Property owners of over-valued mortgages result in a high

       rate of mortgage default and subsequent foreclosures.

       Future Unsuspecting Home Buyers: purchasing FANNIE MAE-owned properties without

       a certified appraisal are subject to purchasing over-valued properties. Unsuspecting

       Home Buyers are potential victims when directly calling the contracted realty firms

       exclusively representing FANNIE MAE. Home buyers relocating from out of state are at

       highest risk of becoming victims of the enterprise because they are clearly unaware of

       the real estate practices concerning Single-Party Broker and Transaction Broker in

       Oklahoma and other states that allow this form of equally compensated, one sided broker

       representation in a real estate purchase transaction. The home buyers unknowingly

       purchase those FANNIE MAE properties over priced while deprived the benefit of honest

       services. These buyers contract to purchase FANNIE MAE property without

       understanding they are without realtor representation on their behalf, then persuaded into

       using the no cost property appraisal option to lure them into a FANNIE MAE loan.

       FANNIE MAE has the exclusive option of no appraisal required in a new mortgage.

       Previous Buyers of FANNIE MAE foreclosures who were represented by Century 21 All

       Pro Realty: Sworn statement by Broker Mary Berry to HUD investigator Garza, Jr. cited


                       PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                               Morris v. Century 21 All Pro Realty, et a1 

                                            Page 54 of80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 55 of 80



in the June 2010 report, claimed Plaintiffs Morris did not receive discriminatory treatment

by Century 21 All Pro Realty and it Broker and Associates. The sworn statement further

claimed Plaintiffs Morris were treated like all other Buyers represented by the realty

firm. This would imply other Buyers were treated and deceived in the same manner as

Plaintiffs Morris. Opportunity for Discovery of closed real estate transactions of FANNIE

MAE owned properties listed with Century 21 All Pro Realty where the Buyers had

Transaction Broker representation by Century 21 All Pro Realty are believed to reveal

additional mortgages with inadequate collateral and hence additional victims of the

enterprise.

5. Details of pattern of racketeering activity

18 U.S.C. 1962(a), 18 U.S.C. 1962(c), 18 U.S.C. 1962(d):
5.(a) The alleged predicate acts of Financial Institution/Bank Fraud [18 U.S.C. 1344]; 

Mail Fraud [18 U.S.C. 1341]; Wire Fraud [18 U.S.C. 1343] and Loan and credit 

applications generally [18 U.S.C. 1014] comprise the "pattern of racketeering" used in the 

operation of the enterprise. 

5.(b)   1. Financial Institution/Bank Fraud [18 U.S.C. 1344]: 


        March 22, 2010- Keenan Kirby, FANNIE MAE Assistant Vice President; Mary

        Berry, Broker/Owner d/b/a Century 21 All Pro Realty; Genny Ulrey of Oklahoma

        REO Closing & Title Services, LLC; and Jennifer Wiewel procured funding on an

        insufficient collateral FANNIE MAE mortgage loan. The $111,744.00 FANNIE

        MAE loan that funded on 3/22/10 was fraudulently represented to the U.S.

        government on a HUD-1 Settlement Statement as a 97% loan-to-value mortgage.

        The Defendants knew and failed to disclose the subject property securing the

        $115,000.00 sales price on the FANNIE MAE mortgage that funded by bank wire


                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 55 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 56 of 80



      on 3/22/10 was appraised on 1/4/10 by a certified government appraiser to be

      worth $109,000.00.

      2. Mail Fraud [18 U.S.C. 1341]:

          i) 	   On or about 1/18/10 - From: Laretta Murray, Ronald Murray, Mary Berry,

                 dlbla Century 21 All Pro Realty mailed Century 21 All Pro Realty check for

                 $1,000.00 Earnest Money after cancellation of purchase contract. 1 TO:

                 Plaintiffs home in Dallas, Texas.

On or about 12/23/09 - From: Gary Morris mailed signed contract addendums and check

to pay for FHA appraisal fee 1TO: Laretta Murray and Ronald Murray in the Century 21

All Pro Realty Office in Oklahoma.

          ii)    4/14/10- From: Amber N. Flanigan of Oklahoma REO Closing & Title

                 Services, LLC mailed Original Warranty Deed 1 TO: Plaintiffs home at

                 1805 NE 6ih Street; Oklahoma City, Oklahoma

          iii) 	 6/24/10- From: Zelinda Hyde of Oklahoma REO Closing & Title Services,

                 LLC mailed Owner's Policy No. 5016540-3754 from Tulsa, Oklahoma 1

                 TO: Plaintiffs home at 1805 NE 6ih Street; Oklahoma City, Oklahoma

      3. Wire Fraud [18 U.S.C. 1343]:

          i) 	   On or about 12/22/09 - Gary Morris faxed 14 pages of signed contract

                 addendums from Dallas, Texas 1 TO: Laretta or Ronald Murray

                 405-632-2444 at 2:47am.

          ii) 	 12/23/09 - Gary Morris faxed 3 pages of signed contract addendums from

                 Dallas, Texas 1 TO: Laretta or Ronald Murray 405-632-2444 at 1 :23am.




                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et a1 

                                       Page 56 of 80 

  Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 57 of 80



   iii) 	 1/19/10 - Gary Morris faxed 3 pages and cover sheet from Dallas, Texas /

           TO: Ronald Murray 405-632-2444.

   iv) 	 1/20/10 - Gary Morris faxed 1 pages and cover sheet from Dallas, Texas /

           TO: Ronald Murray 405-632-2444 at 10:38pm.

   v) 	    2/2/10 - Plaintiffs Realtor Kristyn Grewell faxed Plaintiff's initial Purchase

           Offer / TO: Mary Berry/Broker Century 21 All Pro Realty at

           405-632-4623.

   vi) 	 2/5/10 - Mary Berry/Broker Century 21 All Pro Realty and Jennifer Wiewel

           from 405-632-4623 faxed FANNIE MAE Multiple Offers Notification at

           4:08pm / TO: Plaintiff(s) Realtor Kristyn Grewell 405-359-7499.

   vii) 	 On 2/8/10 - Plaintiff(s) Realtor Kristyn Grewell 405-359-7499 faxed 


           Multiple Offer Response / TO: Jennifer Wiewel 405-632-4623. 


4. Loan and credit applications generally [18 U.S.C. 1014]:

          i) 2/4/10- Keenan Kirby, Mary Berry, Broker/Owner d/b/a Century 21 All

             Pro Realty; and Jennifer Wiewel worked together to submit a Counter

             Offer to Plaintiffs above the known 1/4/10 appraisal value of

             $109,000.00 with no other offers submitted. Allege willful overvaluing a

             property to influence the Federal Housing Authority.

          ii) 	 2/5/10 through 2/10/10 - Keenan Kirby, Mary Berry, Broker/Owner d/b/a

             Century 21 All Pro Realty; and Jennifer Wiewel worked together to

             willfully overvalue the subject property to influence the Federal Housing

             Authority and the Federal Housing Finance Agency (FHFA) by using a

             series of "highest and best" bid periods between two competing Buyers.


            PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                    Morris v. Century 21 All Pro Realty, et al 

                                 Page 57 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 58 of 80




(a)/(b) Plaintiffs allege violation of the following statues that affect interstate commerce in
conducting the affairs of their enterprise with the date of the predicate act:


1) 18 U.S.C. 1344 - Bank Fraud / (Willful over-valuing using counter offers on 2/3/10,
       2/4/10, 2/5/10 and 2/8/10 with possession of 1/4/10 FHA appraisal)
2) 18 U.S.C. 1343 - Wire Fraud / (Bank wire for funding 3/22/10; faxes: 12/22/09,
       12/23/09, 2/2/10, 2/5/10, 2/8/10)


3) 18 U.S.C. 1341 - Mail Fraud / (Earnest deposit returned 12/2009; Checks mailed to
       pay for termite and appraisal on or about 12/22/2009)
4) 18 U.S.C. 1001 - Statements generally /(False statements to HUD Investigator March
       2010, False/Incomplete HUD-1 Settlement Statement 3/22/10)
5) 18 U.S.C. 1010 - HUD & FHA transactions /(False statements to HUD Investigator
       March 2010, False/Incomplete HUD-1 Settlement Statement 3/22/10)
6) 18 U.S.C. 1012 - HUD transactions/ (Willful over-valuing using counter offers on
       2/3/10, 2/4/10, 2/5/10 and 2/8/10 with possession of 1/4/10 FHA appraisal)
7) 18 U.S.C. 1014 - Loan and Credit Applications/ (Willful over-valuing using counter
       offers on 2/3/10, 2/4/10, 2/5/10 and 2/8/10 with possession of 1/4/10 FHA
       appraisal)


18 U.S.C. 1962(a)
       The income from the unlawful enterprise activity where the ultimate goal is to use
Mortgage/Bank Fraud [18 U.S.C. 1344; 18 U.S.C. 1014; and 18 U.S.C. 1010] to maintain
ownership rights of the property in case of loan default and to mask higher sales
proceeds, broker and loan commissions. The unlawfully obtained funds are invested
back into the FANNIE MAE to distribute to the RICO enterprise. FANNIE MAE then
distributes funds to the designated title company for closing, funding and recording
services and to a Broker realty firm to pay increased real estate commissions, broker
incentives and loan incentives to the employees to keep the business operating until the
next influx of FANNIE MAE-owned foreclosures from the over-valued mortgages. The

                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 58 of80 

"             Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 59 of 80



    over valued mortgaged properties are at highest risk for default and foreclosure. These
    over valued mortgage properties equate to job security for the RICO persons when these
    properties become repeat FANNIE MAE foreclosures to sell.
           FANNIE MAE is able to collect and prosper from this unlawful side business

    throughout the United States where FANNIE MAE-owned single family homes are being

    sold under exclusive broker realty and title/closing company contracts. FANNIE MAE has

    this unique market advantage to originate the misrepresented mortgage loans with higher

    interest rates because FANNIE MAE loans do not require a property appraisal for newly

    originated loans. All other loans require an appraisal of property value by a licensed

    appraiser. FANNIE MAE Buyers are enticed by saving $300 to $500 to use the "no cost"

    appraisal option for financing with a FANNIE MAE loan.

           The FANNIE MAE properties are initially listed for sale at a price considerably over

    market value. Non-broker represented Buyers are the main target market. Fair market

    pricing information is denied and intentionally withheld from the non-represented Buyer in

    order to incite a maximum initial offer price. A series of schemes to defraud the buyer

    are utilized to inflate the property price during the offer stage if the initial offer price is not

    sufficient. Property value for the new FANNIE MAE mortgage; a mortgage now

    represented as 95% loan-to-value, is based strictly on an agreed upon contract price

    between the market-unaware-buyer and FANNIE MAE.

           The RICO enterprise, through FANNIE MAE employees and agents, uses a series

    of schemes to willfully over-value the property and defraud the buyers. The schemes

    including what the Plaintiff has named as: the "honest agent" scheme is used if the Buyer

    comes directly to the deSignated realty firm without an agent; the "possibly made a

    mistake" scheme where a series of competing bids are initiated and awarded in error to

                      PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                              Morris v. Century 21 All Pro Realty, et a1 

                                           Page 59 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 60 of 80



restart the highest and best bid period for a second round of higher purchase offers; and

the "white collar extortion" scheme used to hold the house hostage over the non-

represented Buyer who starts suspecting irregular transaction activity. If the Buyer

threatens to terminate the sales contract to get independent broker representation, as a

last option, a threat is made not to sell the property to the buyer if they return under the

"white collar extortion" scheme.

       All the schemes have one common purpose which is to maximize the purchase

price to where the property is so willfully over-valued a FANNIE MAE loan is then the only

affordable or possible loan. The inflated sales price can not be supported by a fair

market value appraisal which will eliminate other financing options. These willfully over­

valued properties are then transferred to other interstate financial institutions for funding

and loan servicing under the authorization and closing coordination of the designated

Title Officer. Mail and Wire services are used to complete the sales transaction and

funding of the FANNIE MAE mortgage loan [18 U.S.C. 1341 and 18 U.S.C. 1343]


U.S.C. 18 §1962(c):

       Plaintiffs allege Defendant Mary Berry, individually and d/b/a Century 21 All Pro

Realty; Keenan Kirby; Genny Ulrey, individually and d/b/a Oklahoma REO Closing & Title

Services, LLC; Jennifer Wiewel, Realtor; Laretta Murray, Realtor; and Ronald Murray,

Realtor; are the "Enterprise" by association-in-fact for RICO claim U.S.C.18 §1962(c).

The RICO persons/defendants for this RICO violation are: Mary Berry, individually and

d/b/a Century 21 All Pro Realty (RICO enterprise upper management); Keenan Kirby

(RICO enterprise upper management); Genny Ulrey (RICO enterprise upper



                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 60 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 61 of 80



management); Jennifer Wiewel (RICO enterprise middle management); Laretta Murray

(RICO enterprise employee); and Ronald Murray (RICO enterprise employee).

       Funding 'from the unlawful acts of the enterprise on March 22, 2010 when the

insufficient collateral mortgage loan was funded by bank wire increased property sales

income, mortgage interest, loan proceeds and fees [18 U.S.C.1343]. These funds were

laundered through FANNIE MAE and Oklahoma REO Closing and Title Services, LLC,

passive, yet liable participants in this RICO violation section. FANNIE MAE then

reinvested the funds back into the enterprise in the form of real estate commissions and

broker sales incentives to Century 21 All Pro Realty; title and closing fees paid to

Oklahoma REO Closing and Title Services, LLC; and salary and any other corporate

bonuses to Keenan Kirby, FANNIE MAE Assistant Vice President.

       The real estate commissions and broker sales incentives were invested back into

Century 21 All Pro Realty to pay salaries, office expenses and real estate agent

commissions. The loan and property sales proceeds were also invested back to FA~INIE

MAE and Oklahoma REO Closing and Title Services, LLC to pay salaries, other

operating expenses and bonuses.

   Defendant(s): Mary L. Berry, individually and d/b/a Century 21 All Pro Realty;

Defendant Keenan Kirby; Defendant Genny Ulrey; Defendant Jennifer Wiewel; Defendant

Ronald Murray and Defendant Laretta Murray all conspired with each other to engage in

a series of wrong'ful and illegal acts, including but not limited to, mail and wire fraud and

several counts of interstate financial institution fraud and resorting to submitting false

statements and documents to government officials to hide participation and to hide

adverse elements such as a known appraisal.


                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 61 of80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 62 of 80



       Defendants intentionally participated in this conspiracy and knowingly engaged in

a pattern and practice of wrongful acts in order to originate mortgage loans with artificially

inflated property values on previously foreclosed FANNIE MAE properties. Mail and Wire

services were used to complete the sales transaction, funding, and recording of the

FAt\INIE MAE mortgage loan [18 U.S.C. 1341 and 18 U.S.C. 1343]


u.s.c. 18 §1962(d):   Conspiracy

Plaintiffs allege the Defendants: Mary Berry, individually and d/b/a Century 21 All Pro

Realty; Keenan Kirby; Jennifer Wiewel, Realtor; Laretta Murray, Realtor; and Ronald

Murray; used a series of schemes: "Honest Agent"; "White Collar Extortion" and "Possibly

made a Mistake", to willfully overvalue property to then defraud several financial

institutions into 'funding and servicing these over 97% loan-to-value FANNIE MAE

mortgages [18 U.S.C. 1344; 18 U.S.C. 1014] until the properties ultimately return to the

sales inventory as repeat foreclosures when the Buyer can not refinance or sell property

due to the inflated value. Broker/Owner Mary Berry, d/b/a/ Century 21 All Pro Realty;

Century 21 All Pro Realty Realtor/Employee, Jennifer Wiewel; Genny Ulrey, authorized

signer for FANNIE MAE and officer of Oklahoma REO Closing and Title Services, LLC;

and Fannie Mae Assistant Vice-President, Keenan Kirby; are the leaders of the FANNIE

MAE, Century 21 All Pro Realty, and Oklahoma REO Closing and Title Services, LLC;

Association-In-Fact RICO Enterprise. Century 21 All Pro Realty, Real Estate

Associates/Agents and Oklahoma REO Closing and Title Services, LLC., Title Officers

also participated in one of the schemes.

                          Scheme Phase 1 - Inflated List Price


                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 62 of 80 

           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 63 of 80



         Broker/Owner Mary Berry d/b/a Century 21 All Pro Realty uses an inflated property

value, often a Broker Price Opinion in real estate Multiple Listing Service (MLS) as the

property list price for Fannie Mae Real Estate Owned (REO) foreclosed properties.

Facts:

   a) 	 Subject property list price had recently been reduced to $119,900 when Plaintiff

         Gary Morris submitted an offer to purchase on 12/16/2009 (see Buyer Full Detail

         sheet from Laretta Murray dated 12/12/2009 at 5:17pm).

   b) Plaintiffs told they did not need to pay for an appraisal for the subject property by

         Defendant/Agent Ronald Murray.

   c) Subject property appraised at $109,000 on 1/4/2010, with condition that peeling

         slJspected lead base paint house trim be painted.

   Result: The initial list price is so over priced, especially for a real estate owned

   (REO)/ foreclosure property with "As-Is / No Seller Warranty" conditions that other

   local Real Estate Agents are essentially denied equal opportunity to sell Fannie Mae

   REO property.

Benefit: Fannie Mae originates a new 30 year mortgage loan and potentially earns

inflated interest over 30 years loan when the contract property sales price does not

conform to a certified appraisal at market value.

NOTE: If in Phase 1-"lnflated list price" scheme, the Buyer's initial offer price (under a

Transaction Broker agreement with Century 21 All Pro Realty) for the purchase contract

is not in range of the inflated or recently reduced inHated, list price, then Phase 2 ­

"Honest Agent" scheme is immediately implemented by the Century 21 All Pro Realty real

estate agents.


                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 63 of 80 

           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 64 of 80



                            Scheme Phase 2 - "Honest Agent"

Century 21 All Pro Realty Agents, serving as Transaction Brokers only for any Buyers for

FANNIE MAE properties), give fraudulent statement leading unrepresented Buyers to

believe they have Broker representation in the transaction while all Century 21 All Pro

Agents are contractually obligated to represent only the interests of the Seller/Fannie

Mae. FANNIE MAE and Century 21 All Pro Realty have a standing Single-Party Broker

contract. One real estate agent from Century 21 All Pro Realty makes the fraudulent

statements to gain access to confidential Buyer financial information and also to induce

the (non-Broker represented) Buyer into signing the Transaction Broker agency

disclosure. Another Century 21 All Pro real estate agent becomes the sole agent of

record, while the real estate agent who made the fraudulent statements claims "no

involvement" in the transaction. This "no involvement" claim is to evade responsibility for

the fraud and make the Buyer's signing of the agency form appear valid.

Facts:

   a) 	 Century 21 All Pro Realty Agents/Defendants Laretta Murray and Ronald Murray

         acted as Plaintiffs Morris' real estate agents on several instances during the period

         of 12/12/09 - 12/16/09 prior to the signing of the Purchase Contract.

   b) 	 Defendant Ronald Murray told Plaintiffs on their first meeting December 12, 2009,

         that his wife, Defendant Laretta Murray, was supposed to show the property.

         Ronald Murray told Plaintiffs that Laretta Murray was absent because she was at

         church practicing with the choir to sing in the Christmas program. Learning of

         Laretta Murray's involvement in her church choir led the Plaintiffs to a false sense




                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 64 of 80 

       Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 65 of 80



     of trust that made them easy victims of the "Honest Agent" scheme of the

     enterprise.

c) 	 Plaintiffs' Morris were told on 12/12/09 by Ronald Murray that they did not have to

     pay for an appraisal because there was a Broker Price Opinion on file. Ronald

     Murray did not inform Plaintiffs that the Ot\lLY loan this "no appraisal" option would

     satisfy was a FANNIE MAE mortgage loan. Plaintiffs now believe this statement

     by Ronald Murray of saving on the cost of the appraisal was with intent to lead

     Plaintiffs into using a high interest rate FANNIE MAE loan.

d) Plaintiffs' Morris were led by the actions, statements and non-disclosure of the

     actual meaning of the single-party broker relationship of Defendants Laretta

     Murray and Ronald Murray with FANNIE MAE. Plaintiffs Morris believed Agents

     Murray represented the Plaintiffs in the transaction by the numerous electronic

     mails, telephone conversations and faxing of Contract amendments/disclosures

     between 12/12/09 - 12/22/09.

e) Plaintiffs Morris relied on the belief that Defendants Murray were their real estate

     agents and shared confidential detailed 'financial information between 12/12/09

     through 12/16/09.

f)   At the Purchase Contract signing, C21 All Pro Realty Agent Laretta Murray,

     Defendant, told Plaintiffs/Buyers Morris a fraudulent statement that, "The

     employees on the other side of the C21 All Pro office were taking care of the

     Seller/Fannie Mae and they (Defendants Murray) were taking care of them

     (Plaintiffs Morris)."




               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                       Morris v. Century 21 All Pro Realty, et a1 

                                    Page 65 of 80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 66 of 80



   g} 	 Plaintiff Gary Morris questioned the Transaction Broker form prior to signing. Gary

      and Candice Morris relied on Defendant Laretta Murray's fraudulent explanation of

      the form and Defendant Ronald Murray's subsequent affirmation by silence before

      signing the form.

   h} 	 Plaintiffs mailed a check made out to Red Rock Mortgage for the $350.00 FHA

      appraisal fee along with signed Contract addendums addressed to Laretta Murray

      at the Century 21 All Pro Realty office address in Oklahoma City, Oklahoma on or

      about the period between 12/21/09- 12/23/09. (See email 12/21/09 'from Shelby

      Weston to Candice Morris and 12/29/09 email from Candice Morris requesting

      confirmation of receipt of appraisal payment check to S. Weston).

Result:

   a} 	 Buyers unaware they were without benefit of Realtor representation in a real

      estate purchase transaction valued over $100,000.00. Plaintiff/Buyers denied

      benefit of honest services.

   b} 	 Buyers denied access to beneficial real estate purchase information:

                 i. 	 Fannie Mae can pay percentage of Buyers closing cost.

                 ii. 	 Area Comparable Sales price information to make informed offers to

                    purchase "as-is"/no warranty foreclosure properties.

Enterprise Benefit: Century 21 All Pro Realty and Agents earn additional commission

from procurement of non-Broker Represented Buyer.




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et a1 

                                     Page 66 of 80 

           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 67 of 80



NOTE: If "Honest Agent" scheme fails or Buyer discovers meaning of the Transaction

Broker agreement they signed, then the Real Estate Agent gets the Broker involved.

Phase 3 - the "White Collar Extortion" scheme is implemented.

                       Scheme Phase 3 - "White Collar Extortion"

Century 21 All Pro Realty Broker/Owner Mary Berry makes threats to Buyer (i.e. - "You

[Buyer] can cancel and I [Broker] will even return your deposit to you, but I [Broker] will

not sell that house to you [Buyer]"). Mary Berry, Broker/Owner then effectively holds the

house hostage as leverage to keep the Buyer from canceling the purchase contract if the

Buyer realizes they have no broker representation for their best interest in the

transaction. Mary Berry, Jennifer Wiewel and Keenan Kirby execute this scheme.

Facts:

   a) 	 Century 21 All Pro Realty Broker, Mary Berry told Plaintiffs Morris on 12/22/09

         they had been given a "good" price on the property and Broker would not present

         their verbal counter offer for FANNIE MAE to pay closing cost.

   b) 	 No further appraisals after the January 4, 2010 FHA appraisal (HK5330KC) were

         performed prior to Red Rock Mortgage funding the existing FANNIE MAE

         mortgage loan on March 22, 2010 for the subject property.



NOTE: If Buyer cancels purchase contract with Century 21 All Pro Realty associates and

comes back with an outside Broker; then Phase 4 - "Possibly made a Mistake" scheme to

obtain maximum sales price is initiated.



                      Scheme Phase 4 - "Possibly made a Mistake"


                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 67 of 80 

           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 68 of 80



Mary Berry, d/b/a Century 21 All Pro Realty; Employee Jennifer Wiewel and Fannie Mae

Assistant VP Kirby needed the authority of their legitimate business positions with

Century 21 All Pro Realty and FANNIE MAE to execute this scheme with the maximum

profit to the enterprise. The enterprise leaders worked during 2/5/10 through 2/8/10 to

manipulate contract responses to obtain highest possible purchase prices. The

enterprise leaders use Buyer's financial information obtained from the previous fiduciary

relationship to willfully overvalue the property purchase price to the Buyer's maximum

loan approval amount of $115,000.00 stated on Gary Morris's FHA Loan Commitment

letter dated 12/15/09 that was submitted to FANNIE MAE, Century 21 ALL Pro Realty,

Broker Berry, Keenan Kirby, Ronald Murray, Laretta Murray and Jennifer Wiewel on

12/16/09 with the Plaintiff(s) first Offer to Purchase.

Facts:

   a) Plaintiffs Morris and an unknown (suspected non-existent) Buyer were supposedly

         in multiple offers on February 5, 2010 in late afternoon after 4pm. Plaintiffs and

         Unknown Buyer given "highest and best" bid period to submit offer.

   b) Plaintiffs Morris were told on February 8, 2010 that they lost the subject property to

         a higher bidder. Plaintiffs' bid was $113,200.00

   c) Plaintiffs Morris on next day informed there "might have been a mistake".

   d) Plaintiffs Morris were still not awarded the sales contract on February 9, 2010,

         after possible mistake admitted.

   e) Plaintiffs Morris were then informed to subrnit another "highest and best" bid.

   f)    Plaintiffs Morris raised offer price to their pre-approval maximum of $115,200.00 to

         secure the purchase contract for the property on 2/10/10.

                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et a1 

                                       Page 68 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 69 of 80



   g) 	 Jennifer Wiewel, admitted under oath to HUD Investigator E. Garza in a written

      HUD investigation response during late February-mid March 2010 that she "might

      have made a mistake". Wiewel used 'fiduciary information from a previous

      transaction with the Plaintiffs.



        Scheme Phase 5 - Misrepresenting the 97% loan-to-value mortgage

The participant leaders: Defendant Mary Berry, individually and d/b/a Century 21 All Pro

Realty; Keenan Kirby; Genny Ulrey, individually and d/b/a Oklahoma REO Closing & Title

Services, LLC; and Jennifer Wiewel, Realtor; defrauded financial institutions concerning

the Buyer(s) loan of $111,744.00. The FANNIE MAE loan was represented to be a 97%

loan-to-value mortgage. The January 4, 2010 appraisal value of $109,000 is evidence

the $115,200.00 sales price value loan is over 100% of the value of the property. The

enterprise leaders coordinated the origination, funding, and recording of a new thirty year

FANNIE MAE mortgage loan of $111,744.00 on March 22, 2010, after willfully over­

valuing the subject property in Oklahoma City.



The $350.00 cost for the 1/4/10 certified FHA appraisal was deliberately omitted on the

HUD-1 Settlement Statement by the enterprise leaders and their Closing/Title Agent with

intent to hide the existence of the $109,000.00 appraisal value of the property. The

$111,744.00 mortgage loan on a property only valued at $109,000.00 would have been

an obvious indication of an insufficient collateral loan. The 3/22/10 HUD-1 Settlement

Statement was to have been submitted and filed with the U.S. Department of Housing




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et a1 

                                     Page 69 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 70 of 80



and Urban Development. Genny Ulrey of Oklahoma REO Closing & Title Services, LLC.

signed and certified this HUD-1 document on behalf of FANNIE MAE.

Facts:

 a) Defendant Broker Berry summarized in her February-March 2010 HUD investigation

     response that the Defendants were treated like all other Century 21 All Pro Realty

     clients and transactions. This would imply there might be other General Public

    victims of the schemes of the enterprise.

 b) Title 59 of Oklahoma Statues has established real estate guidelines that are

     governed by the Oklahoma Department of Real Estate. Dishonesty, such as

     submitting false/inaccurate reports (HUD-1 Settlement Statement) to government

     officials, in real estate dealings is a violation of Title 59 O.S.



5. (d) There has not been a criminal conviction for violation of any predicate act.

5. (e) No civil litigation on Plaintiffs behalf has resulted in judgment in regard to the
predicate acts.

5. (f) The alleged predicate acts of Bank Fraud, Wire Fraud and Mail Fraud used by the

enterprise form a "pattern of racketeering activity" in that the schemes used by the

enterprise to accomplish the main unlawful act of bank/mortgage fraud is facilitated by

the use of wire and U.S. mail service to fund and secure the fraudulently represented

loans and to further the operations of the enterprise.

5. (g) The alleged predicate acts of Bank/Mortgage Fraud, Wire Fraud and Mail Fraud

relate to each other as part of a common plan of the enterprise. The wire and mail

services are essential in completing the Bank/Mortgage Fraud tasks of the enterprise as


                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 70 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 71 of 80



Oklahoma REO Closing & Title Services typically funds the loans by wire service and

mails the recorded documents after completion of the transaction; and all the RICO realty

persons and entities use wire service to expedite transmission of contracts, documents

and amendments by fax.

6. (a) The enterprise (association-in-fact) consists of: Defendant Mary Berry, individually

and d/b/a Century 21 All Pro Realty; Keenan Kirby; Genny Ulrey, individually and d/b/a

Oklahoma REO Closing & Title Services, LLC; Jennifer Wiewel, Realtor; Laretta Murray,

Realtor; and Ronald Murray- through their roles and authority with FANNIE MAE; Century

21 All Pro Realty; and Oklahoma REO Closing & Title.


6. (b) The RICO enterprise is structured with the named employees and agents of

FANNIE MAE; Century 21 All Pro Realty; and Oklahoma REO Closing & Title Services,

LLC, as the "association-in-fact" enterprise. The enterprise originates from the exclusive

contract with Century 21 All Pro Realty to sell and solely represent FANNIE MAE and

Oklahoma REO Closing & Title Services to facilitate the transaction closing and funding

of FANNIE MAE foreclosure properties in parts of Oklahoma.

       The racketeering activity of the enterprise operates with the purpose of collecting

funds from the unlawful activity of the bank/mortgage fraud. The funds from the unlawful

activities are then reinvested into FANNIE MAE and distributed as legitimate funds to

support and maintain the "association-in-fact" back office enterprise. The unlawful

activity of the enterprise is conducted under the legitimate business names of FANNIE

MAE, Century 21 All Pro Realty, and Oklahoma REO Closing & Title Services. The

unlawful back-office activities of the enterprise are masked by the legitimate daily

operations of the three companies.
                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 71 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 72 of 80



       Several schemes are used by the enterprise to overvalue FANNIE MAE

foreclosures sales prices and then induce Buyers to obtain over-valued, higher interest

rate FANNIE MAE mortgages during the sales transaction. The course of conduct of the

enterprise in their pattern of racketeering activity, where mail and wire 'fraud and several

other unlawful acts result in a falsely represented 97% loan-to-value mortgage, which is

actually a loan over 100% of the value. These fraudulent loans are currently backed by

the U.S. Treasury while FANNIE MAE is under government conservatorship.

6. (c) Mary Berry as Broker and Owner of Century 21 All Pro Realty is part of the
enterprise by association-in-fact.

6. (d) The following defendants are associated with the alleged enterprise:

       1) Mary Berry, d/b/a Century 21 All Pro Realty - individual and the enterprise by
          association-in-fact with FANNIE MAE
       2) Keenan Kirby - individual
       3) Genny Ulrey - individual
       4) Jennifer Wiewel - individual
       5) Laretta Murray - individual
       6) Ronald Murray - individual

6. (e) 1) Mary Berry, d/b/a Century 21 All Pro Realty - individual, and the enterprise
          by association-in-fact
       2) Keenan Kirby - individual, and the enterprise by association-in-fact
       3) Genny Ulrey - individual and as Oklahoma REO Closing & Title Services, LLC
       - the enterprise by association- in-fact / separate entity
       4) Jennifer Wiewel - individual, and the enterprise byassociation-in-fact
       5) Laretta Murray - individual, and the enterprise by association-in-fact
       6) Ronald Murray - individual, and the enterprise by association-in-fact




                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 72 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 73 of 80



6. (f) FANNIE MAE and Oklahoma REO Closing and Title Services,LLC. are passive

instruments functioning as an association-in-fact component of the enterprise which

allows the enterprise to function unnoticed in the alleged violation of 18 U.S.C. § 1962(c).

Holders of FANNIE MAE stock are actual victims of the alleged racketeering activity

because they have essentially invested in inflated stock when the security used for the

FANNIE MAE loans (the property) is insufficient collateral.

7. Plaintiffs allege the pattern of racketeering activity is separate from the daily legal

functions of the enterprise. The Buyers and mortgages targeted for the bank fraud of the

enterprise are FA~INIE MAE Buyers and FANNIE MAE loans. The FANNIE MAE loan is

strategically or financially forced on Buyers who initially are using the more affordable

HUO-FHA loans.

8. The alleged relationship between the activities of the enterprise and the pattern
of racketeering activity:

The usual and daily activities of the companies of FANNIE MAE; Century 21 All Pro

Realty; and Oklahoma REO Closing & Title Services, are a legal financial institution for

mortgage loans; real estate transactions helping Buyers and Sellers; and Closing and title

transfer services for real estate sales and purchases. The Difference under the

racketeering activities of the association-in-fact unlawful enterprise is that FANNIE MAE

mortgage loans with insufficient collateral are willfully originated and transferred to banks

and financial institutions with the help of the designated Realtors and Title Company. [18

U.S.C. 1344 - Bank Fraud] and Buyers of FANNIE MAE-owned properties are used as

the instruments to maximize profits.

9. The alleged enterprise receives benefit from the alleged pattern of racketeering


                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                         Morris v. Century 21 All Pro Realty, et al 

                                      Page 73 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 74 of 80




a) Increased sales proceeds and commissions; b) An insufficient collateral mortgage

loan; c) Increased likelihood of repeat FANNIE MAE property ownership for resale

resulting in job security for the Oklahoma area FANNIE MAE foreclosure executives;

employees; title companies and employees; and single-party broker representatives; and

d) Broker sales incentives.

10. The effect of the activities of the enterprise on interstate commerce:
      The insufficient collateral mortgage loans impact interstate commerce when banks
and other financial institutions transfer and service these fraudulent loans. The unlawful
conduct of the enterprise in completing the mortgage fraud operation utilizes mail and
wire services which violates 18 U.S.C. 1341 and 18 U.S.C. 1343.


11. Plaintiffs are alleging violation of 18 U.S.C. § 1962(a).

       (a) FANNIE MAE employees and agents involved in the RICO enterprise all

receive income derived from the pattern of racketeering by the property sales and loan

proceeds. And (b) The income is funded by Oklahoma REO Closing & Title Services

when the property sale is completed by their agents/employees. The funds are then

invested back into the RICO enterprise in the form of increased property sales proceeds,

real estate commissions and broker incentives paid to Broker of Century 21 All Pro

Realty; back into FANNIE MAE to pay salaries and loan incentives to the employees; and

back into Oklahoma REO Closing & Title Services to pay salaries and operating costs.

11. The complaint alleges a violation of 18 U.S.C. § 1962(c).
(a) Employed by or associated with the enterprise;

    1.) Mary Berry, d/b/a Century 21 All Pro Realty - employed by the enterprise and
        association-in-fact with the enterprise
    2.) Keenan Kirby - employed by the enterprise under FANNIE MAE
    3.) Genny Ulrey - Power of Attorney to sign for FANNIE MAE and employed by the
               PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et al 

                                     Page 74 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 75 of 80




       enterprise under Oklahoma REO Closing & Title Services
    4.) Jennifer Wiewel- employed by the enterprise under Century 21 All Pro Realty
    5.) Laretta Murray - employed by the enterprise under Century 21 All Pro Realty
    6.) Ronald Murray - employed by the enterprise under Century 21 All Pro Realty

(b) State whether the same entity is both the liable "person" and the "enterprise"
under § 1962(c).
   1.) Mary Berry, d/b/a Century 21 All Pro Realty - liable person & the enterprise by
         "association-in-fact"
   2.) Keenan Kirby - liable person and part of the enterprise
   3.) Genny Ulrey -liable person and part of the enterprise
   4.) Jennifer Wiewel - liable person and part of the enterprise
   5.) Laretta Murray - liable person and part of the enterprise
   6.) Ronald Murray - liable person and part of the enterprise

12. The conspiracy details of alleged violation of 18 U.S.C. § 1962(d):

Defendants work together using their skills and authority of their regular business

capacity to target and defraud Buyers of FANNIE MAE owned foreclosure properties and

to defraud financial institutions to fund operation of their unlawful enterprise.

       The Defendant - Real Estate Associates of Century 21 All Pro Realty first use a

scheme "Honest Agent" to 'fraudulently induce the Buyers of FANNIE MAE owned homes

to execute a real estate purchase contract without independent Realtor representation on

their behalf. The Defendants while portraying themselves to be honest, church-going

advocates of the Buyer intentionally fail to disclose material information needed for the

Buyers to make informed purchase decisions.

       When the Buyers are emotionally attached to the property, the Broker/Owner

implements the enterprise "White Collar Extortion" scheme. Broker and employees use

the confidential financial information obtained on the required loan pre-approval letter and
                 PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                            Morris v. Century 21 All Pro Realty, et al 

                                         Page 75 of 80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 76 of 80




other information obtained during the fiduciary relationship to hold the property hostage

from the Buyers to extort their maximum approved purchase price and additional interest.

      The Defendants Mary Berry, Keenan Kirby and Jennifer Wiewel (upper and middle

enterprise management) take over the unlawful activity of the enterprise after an offer is

submitted to purchase a FANNIE MAE property with an outside Broker. These RICO

persons jointly use what the Plaintiffs refer to as the "POSSibly made a Mistake" scheme

to maximize sales proceeds using a series of "highest and best" bid period between a

real or strategically procured unknown Buyer. During this scheme, the Buyer who won

the purchase contract for the property has ended up with an inflated purchase price that

an appraisal will likely not support. The Buyers use the only mortgage loan option that

does not require an appraisal, a FANNIE MAE loan.

       The willfully over-valued loans are then funded and titles transferred by Oklahoma

REO Closing and Title Services, LLC and Genny Ulrey with full knowledge of the

insufficient collateral value. The fraudulently procured loans are represented and

transferred in the mortgage market as 97% loan-to-value when in actuality the loan-to­

value exceeds 100% of the property value.

13. The alleged injury to business or property is that The Buyers purchase an "as-is"

foreclosure property without the usual Seller warranty or disclosures, above fair market

value. The Buyer is induced into using the "no appraisal- save $400", FANNIE MAE

mortgage with higher interest rates and loan fees. The over-valued property mortgage

leaves the new homeowner at the highest risk for default and foreclosure when they can

not refinance or sell the property for what they owe FANNIE MAE.




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Morris v. Century 21 All Pro Realty, et a1 

                                     Page 76 of 80 

            Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 77 of 80




          The FANNIE MAE mortgage loan is represented by the enterprise as 97% loan-to­

value when it is actually a much higher loan-to-value ratio that is then transferred with

insufficient collateral to unsuspecting financial institutions resulting in bank fraud.

14. The direct causal relationship between the alleged injury and the violation of
the RICO statute:

The bank/financial institution fraud [18 U.S.C. 1344] and subsequent use of mail fraud [18

U.S.C. 1341] and wire fraud [18 U.S.C. 1343] injured the Buyers/Plaintiffs financially.

There is immediate financial injury when the Buyer pays over market value for a 75 year

old, two bedroom "as-is" foreclosure property with needed repairs. There is long term

financial injury to the Buyer while the Buyer is paying the additional monthly interest

charges on the FANNIE MAE loan after becoming victims of the scheme to defraud and

denied honest services.


15. The following are damages sustained for which each defendant is allegedly
liable.
Extreme Emotional Distress: Mary Berry, individually and d/b/a Century 21 All Pro Realty;
Keenan Kirby; Genny Ulrey; Jennifer Wiewel; Laretta Murray; and Ronald Murray.


Additional Purchase Price: Keenan Kirby; Mary Berry, individually and d/b/a Century 21
All Pro Realty; Genny Ulrey; Jennifer Wiewel; Laretta Murray; and Ronald Murray


Higher Interest/Monthly Mortgage Payment: Keenan Kirby; Genny Ulrey; Mary Berry,
individually and d/b/a Century 21 All Pro Realty; Jennifer Wiewel; Laretta Murray; and
Ronald Murray


Lack of Seller Paid Closing Cost: FANNIE MAE, Keenan Kirby; Mary Berry, individually
and d/b/a Century 21 All Pro Realty; Jennifer Wiewel; Laretta Murray; Ronald Murray

                  PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                          Morris v. Century 21 All Pro Realty, et al 

                                       Page 77 of 80 

           Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 78 of 80




Additional FANNIE MAE loan fees: Keenan Kirby; Mary Berry, individually and d/b/a
Century 21 All Pro Realty; Genny Ulrey; Jennifer Wiewel; Laretta Murray; and Ronald
Murray


Loss of FANNIE MAE advertised 3.5% New Appliance/Buyer Incentive Offer: FANNIE
MAE, Keenan Kirby; Mary Berry, individually and d/b/a Century 21 All Pro Realty; and
Jennifer Wiewel

    Plaintiffs incorporate by reference each and every allegation contained in paragraphs 1
  through 84 AND the RICO Case Statement -RESPONSES as though fully set forth herein.

RELIEF REQUEST:

        WHEREFORE, Plaintiffs Gary and Candice Morris pray for Affirmative Relief on their

Petition for Damages as follows:

         1. A judgment against Defendants and each of them for compensatory and punitive

damages in an amount in excess of $10,000.00, to be assessed by the jury together with statutory

interest from the date of the filing of this Petition for the wonton, malicious, and intentional

actions to induce Plaintiffs to enter a purchase contract where their own representatives,

Defendants and each of them, possessed an adverse interest and intended to deprive Plaintiffs of

the benefit of their bargain (first cause of action);

        2. A judgment against Defendants and each of them for compensatory and punitive

damages in an amount in excess of $10,000.00, to be assessed by the jury together with statutory

interest from the date of the filing of this Petition for the willful, malicious, wonton and intentional

breach of fiduciary duties owed to Plaintiffs as Plaintiffs real estate agents in the subject

transactions to purchase their home (second cause of action);



                   PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                           Morris v. Century 21 All Pro Realty, et al 

                                        Page 78 of80 

          Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 79 of 80




        3. A judgment against Defendants and each of them for compensatory and punitive

damages in an amount in excess of $10,000.00, to be assessed by the jury together with statutory

interest from the date of the filing of this Petition for the wonton, malicious, and intentional false

representations and willful, knowing, utter disregard to the harmful and substantial damages

suffered by Plaintiffs when Defendants, and each of them, failed to disclose material facts while

under a duty to so disclose in the instant transaction (third cause of action);

        4. A judgment against Defendants named for compensatory and punitive damages in an

amount in excess of $10,000.00, to be assessed by the jury together with statutory interest from the

date of the filing of this Petition for malicious, willful and intentional misrepresentations and

misconduct which were the proximate cause of Plaintiff's pecuniary losses, and caused them to

suffer extreme emotional distress which harmed their physical and emotional health (fourth cause

of action);

        5. A judgment against Defendants and each of them for the willful, wonton and malicious

violation of Oklahoma State Statute section 15-751, et.seq. known as the Consumer Protection

Law. Plaintiffs request the maximum amount of damages available pursuant to this statute for

damages suffered as a proximate result of violations by Defendants, and each of them (fifth cause

of action);

        6. A judgment against Defendants named jointly and severally, for three times the amount

of damages assessed, punitive damages, and costs of suit and attorneys fees for their violation of

18 U.S.c. sections 1962; Plaintiffs requests all statutory relief available for the intentional, willful,

and malicious misconduct of Defendants and each of them in their violation of federal laws (sixth

cause of action);

        7. For reasonable attorneys fees and costs of suit; and,


                    PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                            Morris v. Century 21 All Pro Realty, et al 

                                         Page 79 of80 

         Case 5:11-cv-01298-W Document 1 Filed 11/04/11 Page 80 of 80



      S. For such other and further relief as this Court deems just and proper.


Submitted under penalty of perjury on this IfJJ.day of November, 2011:



GA
                                                      Uh
                                                    CANDICE MORRIS
Pro Se      iff                                     Pro Se Plaintiff
P.O. Box 57403                                      1805 NE 67th Street
Oklahoma City, OK 73157                             Oklahoma City, OK 73111
(214) 628-1817                                      (214) 628-1817




                PLAINTIFFS' COMPLAINT and RICO CASE STATEMENT 

                        Moms v. Century 21 All Pro Realty, et at 

                                   Page SO of SO 

